 2:14-mn-02502-RMG   Date Filed 07/24/15   Entry Number 972       Page 1 of 61




                IN THE UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF SOUTH CAROLINA
                        CHARLESTON DIVISION

                                       )
IN RE: LIPITOR (ATORVASTATIN           )
CALCIUM) MARKETING, SALES              )   MDL No. 2:14-mn-02502-RMG
PRACTICES AND PRODUCTS LIABILITY       )
LITIGATION                             )
                                       )
                                       )   This document relates to:
                                       )
                                       )   All actions
                                       )


    PFIZER’S MOTION TO EXCLUDE PLAINTIFFS’ EXPERT TESTIMONY
 ON THE ISSUE OF GENERAL CAUSATION AND MEMORANDUM IN SUPPORT
     2:14-mn-02502-RMG                      Date Filed 07/24/15                    Entry Number 972                      Page 2 of 61




                                                   TABLE OF CONTENTS

TABLE OF AUTHORITIES ......................................................................................................... iii

PRELIMINARY STATEMENT .....................................................................................................1

                     Plaintiffs’ Experts Disregard Clinical Reality .........................................................3

                     Unscientific Methodology .......................................................................................6

                     High (80 mg) Dose and Multiple Risk Factors for Diabetes ...................................8

BACKGROUND .............................................................................................................................8

          A.         Diabetes Is a Progressive Disease That Takes 10 Years or More To
                     Develop ....................................................................................................................8

          B.         Diabetes Is a Disease With Multiple Risk Factors, Including Age and
                     Weight Gain ...........................................................................................................12

          C.         Lipitor Clinical Trial History .................................................................................14

THRESHOLD SCRUTINY OF EXPERT TESTIMONY ............................................................17

THE ELEMENTS OF GENERAL CAUSATION ARE ABSENT HERE ...................................19

I.        PLAINTIFFS’ EXPERTS CONTRADICT THEIR OWN CLINICAL WORK...............20

          A.         Plaintiffs’ Experts’ Causation Opinions Contradict Their Clinical
                     Opinions .................................................................................................................20

                     1.         Plaintiffs’ Experts Ignore Their Admissions on Diabetes Disease
                                Progression .................................................................................................21

                     2.         Plaintiffs’ Experts Ignore the Small Size of the Alleged Risk...................23

                     3.         Plaintiffs’ Experts Concede There Is No Biological Plausibility ..............26

          B.         Dr. Jewell Creates a Litigation-Only Definition of “Glucose
                     Abnormalities” .......................................................................................................26

          C.         Dr. Jewell’s Litigation-Only Opinions Are a Moving Target................................29

II.       PLAINTIFFS’ GENERAL CAUSATION METHODOLOGY IS UNRELIABLE .........30

          A.         Plaintiffs’ Experts Conflate Association With Causation ......................................30

          B.         Dr. Jewell’s Opinion Is Based on Studies That Do Not Test His
                     Hypothesis..............................................................................................................31




                                                                       i
  2:14-mn-02502-RMG                        Date Filed 07/24/15                  Entry Number 972                    Page 3 of 61




          C.         Dr. Jewell Cherry-Picks Data to Support His Litigation Opinion .........................33

          D.         Dr. Jewell Manipulates Study Data to Say What He Wants ..................................36

          E.         Plaintiffs’ Causation Opinions Based on Other Evidence Are Unreliable ............38

III.      PLAINTIFFS LACK RELIABLE EVIDENCE FOR DOSES UNDER 80 MG ..............41

IV.       NO RELIABLE EVIDENCE FOR LESS THAN THREE RISK FACTORS ..................45

CONCLUSION ..............................................................................................................................45

CERTIFICATE OF SERVICE ......................................................................................................47

APPENDIX – GENERAL CAUSATION EXPERTS AND CLINICAL TRIALS ................... A-1




                                                                    ii
  2:14-mn-02502-RMG                       Date Filed 07/24/15                Entry Number 972                   Page 4 of 61




                                              TABLE OF AUTHORITIES

                                                                                                                               Page

                                                               Cases

Abuan v. Gen. Elec. Co.,
   3 F.3d 329 (9th Cir. 1993) .......................................................................................................41

In re Accutane Prods. Liab. Litig.,
    511 F. Supp. 2d 1288 (M.D. Fla. 2007) ...................................................................................37

Adams v. Cooper Indus., Inc.,
   2007 WL 1805586 (E.D. Ky. 2007) ........................................................................................27

Allen v. Pa. Eng’g Co.,
    102 F.3d 194 (5th Cir. 1996) .............................................................................................17, 41
Allgood v. General Motors Corp.,
    2006 WL 2669337 (S.D. Ind. 2006) ........................................................................................27

Am. Honda Motor Co., Inc. v. Allen,
   600 F.3d 813 (7th Cir. 2010) ...................................................................................................19

Barber v. United Airlines, Inc.,
   17 F. App’x 433 (7th Cir. 2001) ..............................................................................................35

In re Bausch & Lomb, Inc. Contact Lens Solution Prods. Liab. Litig.,
    2009 WL 2750462 (D.S.C. Aug. 26, 2009) .............................................................................30

In re Bextra & Celebrex Mktg. Sales Pracs. & Prods. Liab. Litig.,
    524 F. Supp. 2d 1166 (N.D. Cal. 2007) .......................................................................35, 41, 44

Black v. Rhone-Poulenc, Inc.,
   19 F. Supp. 2d 592 (S.D.W.Va. 1998) .....................................................................................32

Braun v. Lorillard Inc.,
   84 F.3d 230 (7th Cir. 1996) .....................................................................................................17

Brown v. Nucor Corp.,
   785 F.3d 895 (4th Cir. 2015) ...................................................................................................18

Chambers v. Exxon Corp.,
   81 F. Supp. 2d 661 (M.D. La. 2000), aff’d, 247 F.3d 240 (5th Cir. 2001) ..............................32

Claar v. Burlington N. R.R. Co.,
   29 F.3d 499 (9th Cir. 1994) .....................................................................................................35

Clark v. Takata Corp.,
   192 F.3d 750 (7th Cir. 1999) ...................................................................................................23

Cooper v. Smith & Nephew, Inc.,
   259 F.3d 194 (4th Cir. 2001) ...................................................................................................18




                                                                  iii
  2:14-mn-02502-RMG                       Date Filed 07/24/15                Entry Number 972                   Page 5 of 61



Daubert v. Merrell Dow Pharms., Inc.,
   43 F.3d 1311 (9th Cir. 1995) ...................................................................................................37

Daubert v. Merrell Dow Pharms., Inc.,
   509 U.S. 579 (1993) ......................................................................................................... passim

DeGidio v. Centocor Ortho Biotech, Inc.,
  3 F. Supp. 3d 674 (N.D. Ohio 2014)........................................................................................26

Dellinger v. Pfizer Inc.,
   2006 WL 2057654 (W.D.N.C. 2006) ......................................................................................26

In re Denture Cream Prods. Liab. Litig.,
    2015 WL 392021 (S.D. Fla. Jan. 28, 2015) .............................................................................38

In re Digitek Prods. Liab. Litig.,
    821 F. Supp. 2d 822 (S.D.W.Va. 2011) ...................................................................................19
Doe v. Ortho-Clinical Diagnostics, Inc.,
   440 F. Supp. 2d 465 (M.D.N.C. 2006) ....................................................................................37

Dunn v. Sandoz Pharm. Corp.,
   275 F. Supp. 2d 672 (M.D.N.C. 2003) ........................................................................20, 23, 31

Fail-Safe, LLC v. A.O. Smith Corp.,
   744 F. Supp. 2d 870 (E.D. Wis. 2010).....................................................................................35

Frischhertz v. Smithkline Beecham Corp.,
    2012 WL 6697124 (E.D. La. Dec. 21, 2012) .....................................................................20, 31

Gen. Elec. v. Joiner,
   522 U.S. 136 (1997) .....................................................................................................18, 36, 37

Glastetter v. Novartis Pharm. Corp.,
   107 F. Supp. 2d 1015 (E.D. Mo. 2000), aff’d, 252 F.3d 986 (8th Cir. 2001) ..........................29

In re Guidant Corp. Implantable Defibrillators Prods. Liab. Litig.,
    2007 WL 1964337 (D. Minn. June 29, 2007) ..........................................................................29

Guinn v. AstraZeneca Pharms. LP,
   602 F.3d 1245 (11th Cir. 2010) ...............................................................................................22

Haller v. AstraZeneca Pharms. LP,
   598 F. Supp. 2d 1271 (M.D. Fla. 2009) .............................................................................21, 30

Happel v. Wal-Mart Stores, Inc.,
   602 F.3d 820 (7th Cir. 2010) .............................................................................................37, 43

Hollander v. Sandoz Pharm. Corp.,
   289 F.3d 1193 (10th Cir. 2002) ...............................................................................................26

Huss v. Gayden,
   571 F.3d 442 (5th Cir. 2009) .................................................................................30, 35, 37, 43




                                                                  iv
  2:14-mn-02502-RMG                       Date Filed 07/24/15                  Entry Number 972                   Page 6 of 61



Kumho Tire Co. v. Carmichael,
  526 U.S. 137 (1999) .................................................................................................................17

Magistrini v. One Hour Martinizing Dry Cleaning,
  180 F. Supp. 2d 584 (D.N.J. 2002) ..........................................................................................30

McClain v. Metabolife Int’l, Inc.,
  401 F.3d 1233 (11th Cir. 2005) .......................................................................21, 26, 36, 41, 42

Miller v. Pfizer, Inc.,
   196 F. Supp. 2d 1062 (D. Kan. 2002) ......................................................................................30

Miller v. Pfizer, Inc.,
   356 F.3d 1326 (10th Cir. 2004) ...............................................................................................30

Mitchell v. Gencorp,
   165 F.3d 778 (10th Cir. 1999) ...........................................................................................41, 42
Nelson v. Tenn. Gas Pipeline Co.,
   243 F.3d 244 (6th Cir. 2001) ...................................................................................................17

Newman v. Motorola, Inc.,
   218 F. Supp. 2d 769 (D. Md. 2002), aff’d, 78 F. App’x 292 (4th Cir. 2003) ....................18, 33

O’Conner v. Commonwealth Edison Co.,
   807 F. Supp. 1376 (C.D. Ill. 1992), aff’d, 13 F.3d 1090 (7th Cir. 1994).................................22

In re Paoli R.R. Yard PCB Litig.,
    35 F.3d 717 (3d Cir. 1994).......................................................................................................18

Phillips v. Am. Honda Motor Co.,
   238 F. App’x 537 (11th Cir. 2007) ..........................................................................................35

In re Prempro Prods. Liab. Litig.,
    738 F. Supp. 2d 887 (E.D. Ark. 2010) .....................................................................................44

In re Rezulin Prod. Liab. Litig.,
    369 F. Supp. 2d 398 (S.D.N.Y. 2005)......................................................................................35

In re Rezulin Prods. Liab. Litig.,
    309 F. Supp. 2d 531 (S.D.N.Y. 2004)................................................................................34, 39

Rink v. Cheminova, Inc.,
   400 F.3d 1286 (11th Cir. 2005) ...............................................................................................35

Rosen v. Ciba-Geigy Corp.,
   78 F.3d 316 (7th Cir. 1996) .....................................................................................................17

Rutigliano v. Valley Bus. Forms,
   929 F. Supp. 779 (D.N.J. 1996), aff’d, 118 F.3d 1577 (3d Cir. 1997).....................................37

Siharath v. Sandoz Pharm. Corp.,
   131 F. Supp. 2d 1347 (N.D. Ga. 2001) ....................................................................................26




                                                                   v
  2:14-mn-02502-RMG                         Date Filed 07/24/15                    Entry Number 972                     Page 7 of 61



Soldo v. Sandoz Pharms. Corp.,
   244 F. Supp. 2d 434 (W.D. Pa. 2003) ..........................................................................19, 26, 44

Turpin v. Merrell Dow Pharms., Inc.,
   959 F.2d 1349 (6th Cir. 1992) .................................................................................................17

United States v. Bynum,
   3 F.3d 769 (4th Cir. 1993) .......................................................................................................32

In re W.R. Grace & Co.,
    355 B.R. 462 (Bankr. D. Del. 2006) ........................................................................................41

Wade-Greaux v. Whitehall Labs., Inc.,
  874 F. Supp. 1441 (D.V.I. 1994), aff’d, 1994 WL 16973481 (3d Cir. 1994) ..........................32

Watkins v. Telsmith, Inc.,
   121 F.3d 984 (5th Cir. 1997) ...................................................................................................17
Wehling v. Sandoz Pharm. Corp.,
  162 F.3d 1158, 1998 WL 546097 (4th Cir. 1998) ...................................................................17

Weisgram v. Marley Co.,
   528 U.S. 440 (2000) .................................................................................................................17

Zellers v. NexTech Northeast, LLC,
    895 F. Supp. 2d 734 (E.D. Va. 2012) ......................................................................................26

Zellers v. NexTech Ne., LLC,
    533 F. App’x 192 (4th Cir. 2013) ............................................................................................19

In re Zoloft (Sertraline Hydrochloride) Prods. Liab. Litig.,
    26 F. Supp. 3d 449 (E.D. Pa. 2014) .............................................................................19, 35, 38


                                                                   Rules

Fed. R. Evid. 104(a) .........................................................................................................................1

Fed. R. Evid. 403 .............................................................................................................................1

Fed. R. Evid. 702 .................................................................................................................1, 17, 19

Fed. R. Evid. 703 .............................................................................................................................1

                                                            Miscellaneous

Amarenco et al., High-Dose Atorvastatin after Stroke or Transient Ischemic Attack,
  355 NEJM 549 (2006) .................................................................................................... 16, A-6
American Diabetes Association, Classification & Diagnosis of Diabetes (2015) ..................14, 24

American Diabetes Association, Diagnosis & Classification of Diabetes Mellitus
  (2014) .......................................................................................................................9, 10, 14, 28



                                                                      vi
  2:14-mn-02502-RMG                        Date Filed 07/24/15                  Entry Number 972                    Page 8 of 61



Cannon et al., Intensive versus Moderate Lipid Lowering with Statins after Acute
   Coronary Syndromes, 350 NEJM 1495 (2004) .................................................................... A-5

CDC, National Diabetes Statistics Report: Estimates of Diabetes and Its Burden in
  the United States (2014) ...............................................................................................6, 13, 28

Colhoun et al., Primary Prevention of Cardiovascular Disease with Atorvastatin in
   Type 2 Diabetes in the Collaborative Atorvastatin Diabetes Study (CARDS):
   Multicentre Randomised Placebo-Controlled Trial, 364 Lancet 685 (2004) ................. 14, A-5

Gale, Is type 2 diabetes a category error?, 381 Lancet 1956 (2013) ..........................................12

Gale, Diagnosis & Classification of Diabetes Mellitus, Diapedia.org (last modified
   August 29, 2014) ......................................................................................................................11

Sir Austin Bradford Hill, The Environment and Disease: Association or Causation,
    58 Proc. Royal Soc’y Med. 295 (1965) .............................................................................20, 23
LaRosa et al., Intensive Lipid Lowering with Atorvastatin in Patients with Stable
   Coronary Disease, 352 NEJM 1425 (2005) ......................................................................... A-6

McShane, Statistical Challenges in the Development and Evaluation of Marker-
  Based Clinical Tests, 10 BMC Medicine 52 (2012) ..................................................................7

Navarese et al., Meta-Analysis of Impact of Different Types and Doses of Statins on
   New-Onset Diabetes Mellitus, 111 Am. J. of Cardiol. 1123 (2013) ....................................8, 43

Pedersen et al., High-dose Atorvastatin vs Usual-Dose Simvastatin for Secondary
   Prevention After Myocardial Infarction: The IDEAL Study: a Randomized
   Controlled Trial, 294 JAMA 2437 (2005)...................................................................... 15, A-5

Reference Manual on Scientific Evidence (3d ed. 2011) ...........................19, 22, 25, 30, 31, 33, 41

Ridker et al., Rosuvastatin to prevent vascular events in men and women with
   elevated C-reactive protein, 359 NEJM 2195 (2008) ................................................... 40, A-6

Ridker et al., Cardiovascular benefits and diabetes risks of statin therapy in primary
   prevention: an analysis from the JUPITER trial, 380 Lancet 565 (2012)...............................39

Sever et al., Prevention of Coronary and Stroke Events with Atorvastatin in
   Hypertensive Patients who Have Average or Lower-than-Average Cholesterol
   Concentrations, in the Anglo-Scandinavian Cardiac Outcomes Trial - Lipid
   Lowering Arm (ASCOT-LLA): A Multicentre Randomised Controlled Trial,
   361 Lancet 1149 (2003) .................................................................................................. 15, A-5

Shepherd et al., Prevention of Coronary Heart Disease with Pravastatin in Men with
   Hypercholesterolemia, 333 NEJM 1301 (1995) ................................................................... A-5

Waters et al., Predictors of new-onset diabetes in patients treated with atorvastatin:
  results from 3 large randomized clinical trials, 57 J. Am. Coll. Cardiol. 1535,
  1535 (2011) ........................................................................................................................16, 45




                                                                    vii
 2:14-mn-02502-RMG             Date Filed 07/24/15         Entry Number 972          Page 9 of 61




       Defendant Pfizer Inc. respectfully moves, pursuant to Fed. R. Evid. 104(a), 702, 703, and

403, to exclude expert testimony, including the opinions of John Abramson, M.D., Edwin Gale,

M.D., Nicholas Jewell, Ph.D., Michael Quon, M.D., Ph.D., Barbara Roberts, M.D., and Sonal

Singh, M.D., M.P.H., that Lipitor causes diabetes or, at minimum, that Lipitor causes diabetes (a)

at doses less than 80 mg or (b) in those with less than three of the following risk factors for

diabetes:   (i) baseline fasting blood glucose above 100 mg/dl, (ii) fasting triglycerides above

150 mg/dl, (iii) Body Mass Index above 30, or (iv) a history of hypertension.

                                PRELIMINARY STATEMENT

       Plaintiffs’ experts claim the science demonstrates that Lipitor (atorvastatin) causes

diabetes. This question has been evaluated outside of litigation through controlled clinical trials

and meta-analyses of clinical trials, as well as nearly two decades and more than 250 million

patient-years of Lipitor use. Of all those clinical trials, post hoc analysis of only one, the

SPARCL trial, has reported a small increase in new diabetes diagnoses over placebo.           That

analysis reported an association only in patients who took the 80 mg dose of Lipitor, the highest

dose, and only in patients with three or more preexisting risk factors for diabetes. The available

data do not provide a scientifically reliable basis for Plaintiffs’ experts’ leap from a reported

association of a slight increase in the diagnosis of diabetes to causation of the disease.

       Doing so is contrary to Plaintiffs’ experts’ admissions on the development of the diabetes

disease process and to adjudicated clinical trial data, which Plaintiffs’ experts ignore.    Their

methods for assessing causation are scientifically unreliable.    They variously employ litigation-

driven standards that ignore undisputed clinical facts about diabetes, rely on their statistically

infirm post hoc analyses of data from select Lipitor clinical trials, and rely on observational

studies that they admit cannot establish causation due to chance, bias, and confounding.

Plaintiffs’ experts purport to extrapolate, without support, from a limited association of a slight

increase in new diabetes diagnoses in patients who took the 80 mg dose of Lipitor and who had
 2:14-mn-02502-RMG            Date Filed 07/24/15        Entry Number 972          Page 10 of 61




three or more risk factors for diabetes to causation in all patients and at all doses of Lipitor.

Plaintiffs’ general causation experts should be excluded.1

       Cardiovascular disease is the number one killer of both men and women, and elevated

cholesterol is a well-recognized risk factor for cardiovascular disease.    Among the cholesterol-

lowering medicines known as statins, Lipitor is one of the most efficacious.     It is also one of the

best-studied and most-prescribed medicines in history.          Lipitor is approved to lower LDL

cholesterol and prevent heart attacks, strokes, and other cardiovascular events in both men and

women.     Lipitor is also approved to treat patients with type 2 diabetes who do not have

coronary heart disease (CHD) but have its risk factors.       Indeed, due to the increased potential

cardiovascular risk associated with diabetes, prescription of a statin is the standard of care for

patients with diabetes.

       As with all prescription medicines, the labeling for Lipitor includes information about

certain potential safety risks, some of which can be serious.    Since Lipitor was first approved in

1996, FDA has approved the Lipitor labeling more than a dozen times to make certain additions

and changes to both efficacy and safety information.         This litigation followed after one such

labeling change.    In 2012, FDA announced a change to the physician-directed prescribing

information for Lipitor and multiple other statins to state in the warning section that “[i]ncreases

in HbA1c and fasting serum glucose levels” – biological markers used to diagnose diabetes –

“have been reported with [statins], including LIPITOR.” See Ex. 5, 2015 Lipitor Label at 6.
This language does not say that Lipitor causes diabetes.        Nor has FDA required or requested

that Pfizer include any reference to diabetes in the warning section of the Lipitor labeling.
       Plaintiffs proffer six experts who together claim that Lipitor is “causally linked with type

2 diabetes.” Singh Rpt. (Ex. 6) at 40.2    In doing so, they draw no lines in limiting the scope of


       1
          Beyond issues of general causation, Plaintiffs’ experts concede there is no recognized
methodology or test capable of establishing specific causation – i.e., that Lipitor caused a
particular plaintiff’s diabetes. Gale Tr. (Ex. 1) at 57:18-58:17; Quon Tr. (Ex. 2) at 326:18-
327:4; Singh Tr. (Ex. 3) at 324:6-325:6; Abramson Tr. (Ex. 4) at 161:6-25. Pfizer will address
specific causation issues in case-specific Daubert motions.



                                                 2
 2:14-mn-02502-RMG              Date Filed 07/24/15       Entry Number 972         Page 11 of 61




their opinions, whether to dose or duration, and go so far as to say that even one pill of 10 mg

Lipitor can cause diabetes.     See Quon Tr. (Ex. 2) at 332:11-21; Singh Tr. (Ex. 3) at 268:9-23.

Plaintiffs’ medical experts include Dr. Gale, a diabetologist, Dr. Quon, a researcher and internist,

Dr. Roberts, a cardiologist who has written a book that advances outlier opinions about statins,

and Dr. Abramson, a former family physician who has been a professional plaintiffs’ witness for

the last decade.   Plaintiffs also proffer opinions from Dr. Singh, an internist with a masters

degree in public health, and Dr. Jewell, a statistician with no medical training or expertise who

appears as a plaintiffs’ expert witness in varied pharmaceutical litigations, and whose statistical

analyses of Lipitor studies Plaintiffs’ medical experts uncritically accept.   See Gale Tr. (Ex. 1)

at 266:23-267:3; Quon Tr. (Ex. 2) at 44:7-12, 196:10-197:4, 300:8-23; Singh Tr. (Ex. 3) at

299:2-24, 313:10-17; Abramson Tr. (Ex. 4) at 160:18-23; Roberts Tr. (Ex. 9) at 141:6-142:11.

       The methods used by these experts violate the standards they apply outside the courtroom

and are fatally flawed.         The patchwork of unsupported assumptions and unreconciled

contradictions between and within these experts’ opinions reveals them to be unreliable.       What

Pfizer sets forth below is not an exhaustive chronicle of the pervasive errors in Plaintiffs’ experts

methodology, but only the most obvious errors.       These errors render their opinions inadmissible

under Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579 (1993), and its progeny.

       Plaintiffs’ Experts Disregard Clinical Reality
       Plaintiffs’ expert testimony on general causation is inadmissible due to the wide gap

between their causation analyses and their admissions concerning the clinical progression of

diabetes.   To the extent they offer any medical opinions, they do not dispute the key features of

the diabetes disease process.    They admit that type 2 diabetes is a disease that takes many years

to develop, and is caused by a host of contributory risk factors, the most significant being weight,

age, race, and genetics.   These admissions are fatal to their attempts to prove general causation.



       2
          See also Jewell Tr. (Ex. 7) at 93:9-94:6; Abramson Tr. (Ex. 8) at 483:18-488:16; Gale
Tr. (Ex. 1) at 213:20-24; Quon Tr. (Ex. 2) at 24:3-9.



                                                 3
 2:14-mn-02502-RMG             Date Filed 07/24/15            Entry Number 972         Page 12 of 61




       While certain blood glucose thresholds have been established to determine when

someone is clinically deemed “diabetic,” at the time an individual crosses those thresholds, she

will have already had the disease for at least a decade, and have been “prediabetic.” Thus, the

moment an individual crosses the diagnostic threshold for “diabetes” – over 125 mg/dl is the

current diagnostic cut point – is usually more than ten years after the last event that caused the

disease process.    Plaintiffs’ experts generally agree that this threshold is primarily a diagnostic

tool and that crossing the threshold does not necessarily signify any clinically significant

physiological change from just below 125 mg/dl.            Indeed, individuals who are just below 125

mg/dl are not “normal” (rather, those below 100 mg/dl are normal).             Those between 100 and

125 mg/dl are “prediabetic,” since the decade-long disease process is already underway and puts

them well on the road to a diagnosis of “diabetes.”

       Nor can Plaintiffs’ experts cure the clinical contradictions of their general causation

opinions by retreating to a fallback position by claiming only that Lipitor causes increases in

blood glucose.     Just as the magnitude of the alleged risk for newly diagnosed diabetes at 80 mg

is slight, so is any increase in blood glucose.      One of Plaintiffs’ experts states that on average

Lipitor increases HbA1c by only 0.1% – or about 2 to 3 mg/dl – an increase in blood glucose that

he and others admit is of no clinical concern.    Gale Tr. (Ex. 1) at 49:12-50:1, 154:2-9, 205:2-13;

Quon Tr. (Ex. 2) at 175:22-176:20.        In contrast, HbA1c increases of 0.3 or 0.4%, or perhaps

1.0%, are the threshold for clinical significance.       Gale Tr. (Ex. 1) at 50:6-51:5; Quon Tr. (Ex. 2)
at 175:22-176:20.     Many factors can increase blood glucose, such as weight gain, aging, lack of

exercise, and a high carbohydrate diet.    Quon Tr. (Ex. 2) at 261:2-11, 270:17-19.
       Against this backdrop, Dr. Jewell’s analysis of clinical trial data purports to show that

Lipitor is statistically associated with an increased risk of individuals crossing the diagnostic
threshold for diabetes, an association he erroneously equates with causation.                Given the

existence of well-established and large risk factors for diabetes compared to the slight blood

glucose elevations reported in association with Lipitor, the absence of an association of newly

diagnosed diabetes in patients without multiple risk factors for diabetes, and the length of time



                                                     4
 2:14-mn-02502-RMG                 Date Filed 07/24/15     Entry Number 972          Page 13 of 61




that Plaintiffs’ clinical experts admit it takes to develop diabetes, any purported association

between Lipitor and an increase in diabetes diagnoses in such trials cannot be causal since

Lipitor would have been introduced after the decade-long disease process began.          Dr. Jewell’s

statistical analysis cannot show that the subsequent use of a medicine causes a pre-existing

disease process.

        Dr. Singh likewise errs in his meta-analysis of statin trials, opining that his observed

association is causal because “in the majority of cases, the onset of diabetes was relatively

shortly after statin exposure (frequently < 4 months).” Singh Rpt. (Ex. 6) at 36.           But rapid

onset of a diabetes diagnosis precludes causation, since the diabetes disease process started years

before, and cannot have been caused by the recent introduction of statins.          Newly diagnosed

diabetes in patients who were on the verge of a diagnosis as part of the continuing progression of

a long-term disease process is neither surprising nor indicative of causation.

        Further, the risk that Plaintiffs’ experts purport to find from inconsistent clinical trial

results, even if real, is small.    This slight increase is overwhelmed by other well-recognized risk

factors for diabetes, including weight gain, age, ethnicity, genetics, sedentary lifestyle, high

blood pressure, high triglycerides, low HDL cholesterol, depression, psychosis, cigarette

smoking, and exposure to some environmental toxins. Plaintiffs’ experts offer no reliable basis

for opining that the small association reported with statin use is causal in light of the role of so

many other large, recognized risk factors.      In fact, they admit that none of them is aware of any
method to determine in an individual patient that Lipitor, as opposed to any number of other risk

factors, caused a patient’s diabetes, a concession that is both relevant to general causation and
fatal to specific causation.

        So, too, Dr. Jewell’s methods contravene medical knowledge about diabetes.         Dr. Jewell
is a statistician, not an epidemiologist or a medical doctor.       Lacking any medical training or

expertise, he divorces any clinical judgment from his statistical analysis.      Unsurprisingly, error

abounds.    For instance, instead of using generally accepted medical definitions, he builds his

analysis around individuals he deems to be “without baseline glucose abnormalities,” which he



                                                    5
 2:14-mn-02502-RMG            Date Filed 07/24/15        Entry Number 972          Page 14 of 61




defines to mean anyone below 126 mg/dl.        Jewell Rpt. (Ex. 10) at 4 n.1.     But by using his

private, litigation-only definition, he “cures” all prediabetic individuals with fasting blood

glucose levels between 100 and 125 mg/dl – some 86 million American adults3 – and treats

them instead as being normal, introducing a methodological flaw that permeates his analysis.

While it does not itself constitute a basic math error, it does evince a lack of understanding of

what the math means, and Plaintiffs’ attempt to fix this and other errors after his first deposition

shows that his litigation opinion is a moving target that should be stricken under Daubert.

       Unscientific Methodology

       Beyond issues of clinical incoherence, Plaintiffs’ experts’ methodology is unscientific.

Initially, Dr. Jewell erroneously conflates association and causation, treating the existence of the

former as ipso facto proof of the latter.    As many courts have held, and as Plaintiffs’ other

experts concede, doing so is unreliable and contrary to fundamental scientific methodology.4

       Moreover, to test a hypothesized association, a study “needs to be designed with that

particular question in mind before the data are collected.” Hennekens Rpt. (Ex. 14) at 24; see

Gale Tr. (Ex. 1) at 244:24-245:25.   Yet none of the studies on which Dr. Jewell based his report

was designed to test for an association between Lipitor and diabetes.           Instead, his initial

causation opinion as to diabetes was based almost entirely on his own unpublished post hoc

litigation analysis of data from one trial, SPARCL.    Jewell Tr. (Ex. 7) at 103:13-24.   SPARCL

was not designed to study whether Lipitor increases the risk of being diagnosed with diabetes

and tested only the 80 mg dose of Lipitor.

       Though Dr. Jewell has testified elsewhere that a reliable methodology must evaluate the

totality of the evidence, his approach here was just the opposite.   In performing his analysis, Dr.

Jewell intentionally ignored ASCOT, id. at 119:11-15, 122:14-25, the sole Lipitor trial where



       3
          CDC, National Diabetes Statistics Report: Estimates of Diabetes and Its Burden in the
United States, 2014, at 3 (2014) (Ex. 11); accord Gale Rpt. (Ex. 12) at 9.
        4
          See, e.g., Gale Tr. (Ex. 1) at 77:15-78:7; Quon Tr. (Ex. 2) at 292:14-17; Roberts Tr.
(Ex. 9) at 73:22-74:4; Wells Tr. (Ex. 13) at 80:16-81:10.



                                                 6
 2:14-mn-02502-RMG              Date Filed 07/24/15       Entry Number 972         Page 15 of 61




diabetes was a pre-specified endpoint, and which did not report a statistically significant

association with diabetes.      When this cherry-picking was noted at his initial deposition, Dr.

Jewell responded by serving a “rebuttal” report on ASCOT.         Yet this new report led him only

into further error, as he contorted the ASCOT data to make it say that Lipitor significantly

increases the risk of diabetes – the opposite of the researchers’ actual, peer-reviewed finding.

“If you torture the data long enough, it will confess to anything,”5 and drawing inferences

opposite those of the study authors is a methodology that courts reject as unreliable.

       Plaintiffs’ other experts’ opinions are also methodologically flawed.       They all rely on

Dr. Jewell’s deficient analysis of Lipitor clinical trials.    They also cite interim data from a

clinical trial abstract of the PROVE-IT trial, comparing Lipitor to Pravachol (pravastatin); the

JUPITER clinical trial that compares Crestor (rosuvastatin) to placebo; and observational studies

of Lipitor and other statins.    None of these studies is a reliable basis for their opinions.   The

unpublished interim PROVE-IT abstract, which reported increased blood glucose with Lipitor

compared to pravastatin, is meaningless in light of the final study data, published in a peer-

reviewed journal, that reported no significant difference in the diagnosis of diabetes between the

two groups.   Plaintiffs’ experts also rely on JUPITER, which reported a small increased risk of

physician reports of diabetes with Crestor, but they ignore the many limitations of that finding,

including reporting bias that distorted the fact that glucose levels were not significantly different

in the two groups.   Nor can Plaintiffs establish general causation based on observational studies,
which, as nearly every one of Plaintiffs’ experts admit, are subject to significant methodological

limitations including chance, bias, and confounding, and can thus only generate hypotheses, not
test them.    Indeed, these experts admit that observational studies serve only hypothesis-

generating purposes and are, thus, incapable of demonstrating causation.



       5
           These words are attributed to Professor Ronald Coase (1910-2013), a British economist
and Nobel laureate. See https://www.coase.org/coasecv.htm. This maxim has been applied to
statistical analyses. McShane, Statistical Challenges in the Development and Evaluation of
Marker-Based Clinical Tests, 10 BMC Medicine 52 (2012) (Ex. 15) at 3.



                                                  7
 2:14-mn-02502-RMG            Date Filed 07/24/15         Entry Number 972          Page 16 of 61




       High (80 mg) Dose and Multiple Risk Factors for Diabetes
       To establish general causation, Plaintiffs must demonstrate not only that Lipitor causes

diabetes, but at what dose it can do so.    Plaintiffs’ causation analysis stands largely on post hoc

analysis of data from the SPARCL trial.          That analysis, if accepted, reports only a small

increase in the diagnosis of diabetes at the high 80 mg dose and only in patients with three or

four preexisting risk factors for the disease:    baseline fasting blood glucose above 100 mg/dl,

fasting triglycerides above 150 mg/dl, BMI above 30, or a history of hypertension.         Plaintiffs’

experts recognize the importance of dosage in evaluating causation, but they fail to overcome the

lack of reliable evidence of a valid association – let alone causation – at 10, 20, and 40 mg doses.

The clinical trial data for Lipitor, including those from ASCOT at 10 mg that Dr. Jewell initially

ignored, do not report a statistically significant association with increased diabetes diagnoses at

any dose other than at 80 mg as reported in SPARCL.        In fact, a published 2013 network meta-

analysis of Lipitor trials by Navarese, which includes data from SPARCL, ASCOT, and other

Lipitor clinical trials, shows no statistically significant increase at any dose.   Further, findings

from observational studies do not support Plaintiffs’ experts’ causation opinions because, as

several of them admit and as noted above, due to their many limitations, observational studies

are at best hypothesis generating.   Other courts have precluded general causation testimony for

lower dosages of a medicine where reliable evidence was absent.             Not only do Plaintiffs’

experts fail to analyze the data based on dose, but they also fail to make any showing as to

duration, or whether an elevated risk of newly diagnosed diabetes occurs in patients who do not

otherwise have multiple risk factors for being diagnosed with diabetes.      Thus, at minimum, the

Court should hold that Plaintiffs’ experts cannot testify that Lipitor causes diabetes for those who

took 10, 20, or 40 mg doses or for those who have less than three of the foregoing risk factors.

                                           BACKGROUND

A.     Diabetes Is a Progressive Disease That Takes 10 Years or More To Develop

       “Diabetes is a group of metabolic diseases characterized by hyperglycemia,” i.e., elevated

blood glucose, that affects the way the body metabolizes sugar, and which results from




                                                  8
 2:14-mn-02502-RMG               Date Filed 07/24/15       Entry Number 972           Page 17 of 61




progressive changes in the body’s resistance to, or production of, insulin.6            Diabetes “is a

chronic and progressive condition,” Elasy Rpt. (Ex. 17) at 7, which is diagnosed by measuring

blood glucose levels.7      These measurements are surrogate endpoints for the underlying disease

process.   Id.   at 6.     Under current American Diabetes Association (ADA) diagnostic criteria,

a fasting blood sugar level less than 100 mg/dl is normal, 100 to 125 mg/dl is prediabetic, and

above 126 mg/dl on two separate tests is diabetic.      E.g., id. at 6-7; Fonseca Rpt. (Ex. 18) at 4.

       Diabetes is a slow, progressive disease.           Dr. Quon describes the diabetes disease

process:   “[D]iabetes is a chronic disease and you start out with a little bit of insulin resistance.

Then it gets more.        Then you have impaired fasting glucose and then you have, you know,

metabolic syndrome, and then you get frank diabetes.        So there’s a continuum.” Quon Tr. (Ex.

2) at 53:23-54:20.       “Even though ‘new onset’ diabetes is a term that is used in the literature to

reflect newly diagnosed diabetes, the term is not medically accurate in the description of the

disease process because diabetes is a long-term progressive disease that takes many years to

develop.” Miller Rpt. (Ex. 19) at 12; see Elasy Rpt. (Ex. 17) at 13-14.

       Drs. Gale and Singh also admit the generally accepted scientific proposition that the time

it takes someone to progress from normal, to prediabetic, to diabetic, is a period not just of years,

but at least a decade.        Dr. Gale admits that the progression from disease initiation until

diagnosis is “a long, slow process” that takes “at least a decade or so.” Gale Tr. (Ex. 1) at

174:5-175:18; 183:6-12 (emphasis added).          A diagnosis of diabetes is “not a new injury” but
rather a “milestone” in a progressive disease process.      Id. at 184:1-8.   So, too, Dr. Singh agrees

that the “[d]iabetes disease process does not start on that day of diagnosis” but “occurs over a
continuum, you know, of time and age and risk factors.” Singh Tr. (Ex. 3) at 62:10-25.8

       6
           ADA, Diagnosis & Classification of Diabetes Mellitus, 37 Diabetes Care S81, S81 &
S82 (Fig. 1) (2014) (Ex. 16).
        7
            Under more recent methods, glycated hemoglobin (HbA1c) levels in the fasting
patient’s blood can also be used to diagnose diabetes.
        8
           Dr. Abramson also agrees that diabetes is a long-term process, but defers to a diabetes
expert as to its length. Abramson Tr. (Ex. 4) at 180:4-182:3. Dr. Roberts, a cardiologist,
offers little in the way of an opinion regarding diabetes, admitting that she is “not familiar with



                                                    9
 2:14-mn-02502-RMG             Date Filed 07/24/15        Entry Number 972            Page 18 of 61




Pfizer’s experts also agree that the “[m]etabolic and cellular abnormalities (such as insulin

resistance) related to the future development of diabetes often precede the diagnosis by at least

10-15 years,” Fonseca Rpt. (Ex. 18) at 3, and that “[d]iabetes is a disease process, and diagnosis

of diabetes is the end (‘milestone’) of the decade-long process of its development.” Elasy Reb.

Rpt. (Ex. 20) at 8; see also Miller Rpt. (Ex. 19) at 11-12.

       Each of these stages is part of the disease process.       As the ADA explains, “[a] disease

process may be present but may not have progressed far enough to cause hyperglycemia.              The

same disease process can cause impaired fasting glucose (IFG) and/or impaired glucose tolerance

(IGT) without fulfilling the criteria for the diagnosis of diabetes.”9     “One should not confuse the

timing of disease diagnosis with the timing of disease onset – the disease onset occurs much

earlier than its eventual diagnosis.” Elasy Rpt. (Ex. 17) at 5.

       The ADA has depicted the continuum of the diabetes disease process as follows:10




       Plaintiffs’ experts Drs. Quon and Gale admit that the “cut points” for diagnosing diabetes
are somewhat arbitrary, have changed over time, and do not necessarily signify the occurrence of

any clinically significant physiological change in one’s vascular condition, but are diagnostic
tools that can be used to treat patients and improve their health.       See Quon Tr. (Ex. 2) at 73:19-


the [ADA]” and does not “know what the [ADA] guidelines say,” having not “read them.”
Roberts Tr. (Ex. 9) at 257:15-25, 175:10-16. She was thus unable to answer questions
regarding the diabetic process, id. at 248:16-22, the existence of prediabetes (id. at 250:9-
251:20), and whether diabetes process is “a continuum.” Id. at 254:6-8.
       9
           ADA (2014) (Ex. 16) at S81.
       10
          Id. at S82, Fig. 1 (emphasis added).



                                                 10
 2:14-mn-02502-RMG                    Date Filed 07/24/15      Entry Number 972          Page 19 of 61




24; 245:25-246:15.         Dr. Gale explains that the cutoff between healthy glucose and harmful

glucose needing intervention is “very difficult to define.” Gale Tr. (Ex. 1) at 110:18-22; see id.

at 137:18-24, 139:9-20.        Yet “a number has to be picked out of the air” for clinical purposes to

justify treatment.       Id. at 43:17-44:11; 37:11-40:17.      These diagnostic cut points should not be

viewed, in binary terms, as a simple “‘on’ switch” where normal blood glucose ends and diabetes

begins.        Id. at 143:17-144:3.     There is “no biological cutoff for the diagnosis of diabetes.” Id.

at 36:21-37:10.        Under the term long used in the medical community, including by Pfizer’s

experts and employees, when one’s blood glucose level crosses the cut point from prediabetes to

diabetes, she will be labeled diagnostically as having “new onset diabetes.”          But the thing that is

new about “new onset diabetes” is the diagnosis, not the progressive disease process.

          Because “the cut-off levels that separate those with diabetes from those without are

arbitrarily defined,” 11 there is little if any physiological significance to just crossing the
threshold.       As Dr. Gale testified, if a person’s blood glucose goes from 124 mg/dl to 127 mg/dl,

she may be diagnosed with diabetes, but “the person has not suddenly changed category or

haven’t gone green or anything, they’re the same person with a slightly higher blood glucose.”

Gale Tr. (Ex. 1) at 42:11-43:16; see Quon Tr. (Ex. 2) at 249:7-252:7.            Although what makes a

diabetes diagnosis is high glucose values, “[w]hat makes diabetes mellitus a disease is the

(vascular) complications that are the result from (chronically) high glucose values.”12

          In proffering their opinions, Plaintiffs’ experts are focusing on very tiny increases in

blood glucose that do not have clinical consequences.            Dr. Gale estimates the increase as 0.1%

in HbA1c – or about 2 to 3 mg/dl – which, on average “is not going to matter” and “would not

worry [him] as a clinician.” Gale Tr. (Ex. 1) at 49:12-50:1, 154:2-9, 205:2-13.                 Dr. Quon

similarly agrees that such small changes are not “clinically relevant.”             Quon Tr. (Ex. 2) at

175:22-176:20.         At most, small clinically insignificant glucose elevations occur in some people


          11
         Gale, Diagnosis & Classification of Diabetes Mellitus, Diapedia.org (last modified
August 29, 2014), at 3 (Ex. 21).
      12
         Id. at 2.



                                                       11
 2:14-mn-02502-RMG              Date Filed 07/24/15           Entry Number 972         Page 20 of 61




who are already on the road to diabetes who may then be diagnosed with diabetes a bit sooner.

See Gale Tr. (Ex. 1) at 208:13-209:2; Quon Tr. (Ex. 2) at 53:23-54:20.             Moreover, Drs. Gale

and Singh admit there is no evidence that Lipitor increases the risk of microvascular disease and

complications.     Singh Tr. (Ex. 3) at 71:8-12; Gale Tr. (Ex. 1) at 46:8-13.         Indeed, Dr. Quon

states that Lipitor can help protect against vascular disease.      Quon Tr. (Ex. 2) at 70:17-71:20.

B.      Diabetes Is a Disease With Multiple Risk Factors, Including Age and Weight Gain

        In published literature, Plaintiffs’ expert, Dr. Gale, concedes that diabetes is a

“multifactorial” disease, for which the “causal mechanisms … remain unknown.”13                Dr. Gale

admits that the risk of diabetes “is largely determined by the quartet of age, obesity, family

history, and ethnicity,” Gale Tr. (Ex. 1) at 133:18-23, with age and obesity being the “two main

drivers.” Gale Rpt. (Ex. 12) at 4; accord Gale Tr. (Ex. 1) at 134:6-14; Fonseca Rpt. (Ex. 18) at

10; Elasy Rpt. (Ex. 17) at 7; Miller Rpt. (Ex. 19) at 13.       Other recognized conditions associated

with diabetes include sedentary lifestyle, high blood pressure, high triglycerides, low high-

density lipoprotein (HDL) cholesterol, depression, psychosis, cigarette smoking, and exposure to

some environmental toxins.          See Quon Tr. (Ex. 2) at 85:10-21; Fonseca Rpt. (Ex. 18) at 6; Elasy

Rpt. (Ex. 17) at 7.

        Given the multifactorial nature of the disease with other large and well-recognized risk

factors and the slight alleged risk of Lipitor, none of Plaintiffs’ experts is “aware of any method

where you could say in an individual patient by how much Lipitor had an effect on or accelerated
their diagnosis of diabetes.” Gale Tr. (Ex. 1) at 209:17-210:2.              Dr. Gale admits that the

question of specific causation – whether Lipitor did cause diabetes in any particular person – is a
“difficult issue” for Plaintiffs.     Id. at 57:18-58:17.   Dr. Quon has never told a patient that his or

her diabetes was caused by a statin and has never seen a patient who he believed would not have
gotten diabetes absent a statin.        Quon Tr. (Ex. 2) at 326:18-327:4.      Dr. Singh concedes that

where “a patient stops taking Lipitor and the diabetes doesn’t subside,” it “[w]ould be fair to


        13
             Gale, Is type 2 diabetes a category error?, 381 Lancet 1956, 1956 (2013) (Ex. 22).



                                                     12
 2:14-mn-02502-RMG            Date Filed 07/24/15         Entry Number 972          Page 21 of 61




infer that we cannot distinguish whether the diabetes is driven by Lipitor or other factors.”

Singh Tr. (Ex. 3) at 324:6-325:6.     Dr. Abramson knows of no “test or procedure or method to

make [the] determination” that Lipitor caused diabetes “in individual patients.” Abramson Tr.

(Ex. 4) at 161:6-25.    As Dr. Gale admits, it is not “possible to determine whether or not [a

patient] still would have developed diabetes had she not taken Lipitor.”         Gale Tr. (Ex. 1) at

210:14-19.   Attempting to separate out one or two causes in an individual “really resists

detailed dissection,” id. at 79:15-80:4, and given the “very complex network of interrelationships

within the body ... any attempt at dissection which takes one individual part on its own is going

to fall short.” Id. at 78:16-79:14.

       Dr. Gale admits that the small increase in risk associated with statins pales in comparison

to other well-recognized risk factors.     For example, Dr. Gale admits that obesity is a far greater

diabetes risk, Gale Tr. (Ex. 1) at 116:6-16; 178:4-15, and even “night shift work,” which disrupts

biorhythms, is a stronger risk factor than statins.      Id. at 176:12-177:6.   Pfizer’s expert, Dr.

Hennekens, explains that “[t]he reported magnitude of association between Lipitor and newly

diagnosed diabetes, even if real, is small” and is overwhelmed by the large increased risk of

diabetes arising from weight gain.       Hennekens Rpt. (Ex. 14) at 51.    Even “small increases in

body weight from teenage years to adulthood confer[] alarming risks of type 2 diabetes” and for

“a woman who has gained even a few pounds since age 16, … her risk of developing diabetes

due to that weight gain is much greater than what has been postulated about any statin in
developing diabetes.”   Hennekens Tr. (Ex. 23) at 29:22-30:10, 157:2-19 (emphasis added).

       It is beyond dispute that there is a diabetes epidemic in the United States.        The CDC
estimates that 9.3% of the U.S. population, or 29.1 million Americans, has diabetes.14     Of those,

27.8% of the people with diabetes, or 8.1 million Americans, are undiagnosed.15         Prediabetes,

which afflicts some 86 million adults nationwide,16 confers a substantially increased risk of


       14
          CDC, National Diabetes Statistics Report (2014) (Ex. 11), at 1.
       15
          Id.
       16
          Id. at 3.



                                                  13
 2:14-mn-02502-RMG              Date Filed 07/24/15       Entry Number 972         Page 22 of 61




developing diabetes, Gale Rpt. (Ex. 12) at 9-10; Gale Tr. (Ex. 1) at 178:24-180:20, and this risk

also far exceeds the alleged risk attributable to statins.17   Because the same disease process can

cause prediabetes and diabetes, and because individuals with prediabetes have a relatively high

risk for being diagnosed with diabetes in the future,18 there is no way to reliably rule out

prediabetes as the cause of the individual’s diabetes.

C.     Lipitor Clinical Trial History

       FDA approved the New Drug Application (NDA) for Lipitor in 1996.                  The NDA

included safety and efficacy data from more than 21 clinical trials.         Both Pfizer and FDA

conducted analyses of the NDA safety data, including adverse event reports submitted by

investigators during clinical trials and laboratory measurements collected during the trials.

Based on these analyses, “hyperglycemia” was included in the original Lipitor labeling as an

adverse reaction reported in clinical trials, without regard to causation.       As shown above,

“hyperglycemia” is a medical term that includes both “prediabetes” and “diabetes.”19
       Since its approval, Lipitor has been studied in many large, cardiovascular outcome-based

clinical trials, the gold standard in testing.    The Collaborative Atorvastatin Diabetes Study

(CARDS) was a placebo-controlled trial designed to determine Lipitor’s efficacy in patients with

type 2 diabetes and risk factors for cardiovascular disease.20        CARDS reported that Lipitor

“significantly reduced the rate of major cardiovascular events” in this population “with a relative

risk reduction of 37%.”       2015 Lipitor Label (Ex. 5) at 17-18.    Lipitor was thus approved to

“[r]educe the risk of MI and stroke in patients with type 2 diabetes” and risk factors for heart

disease.    Id. at 1.   CARDS did not report that Lipitor worsened or aggravated existing diabetes.



       17
          ADA, Classification & Diagnosis of Diabetes, 38 Diabetes Care (Supp. 1) S8, at S8-
S16 (2015) (Ex. 24).
       18
          ADA (2014) (Ex. 16) at S81, S85.
       19
          Id. at S82, Fig. 1.
       20
          Colhoun et al., Primary prevention of cardiovascular disease with atorvastatin in type
2 diabetes in the Collaborative Atorvastatin Diabetes Study (CARDS): multicentre randomised
placebo-controlled trial, 364 Lancet 685 (2004) (Ex. 25).



                                                  14
 2:14-mn-02502-RMG            Date Filed 07/24/15        Entry Number 972          Page 23 of 61




       The Anglo-Scandinavian Cardiovascular Outcomes Trial (ASCOT) was a placebo-

controlled trial designed to test Lipitor’s efficacy in primary prevention – that is, preventing

cardiovascular events in persons who had not experienced such an event.21       ASCOT reported “a

relative risk reduction of 36% … regardless of age, smoking status, obesity, or presence of renal

dysfunction,” 2015 Lipitor Label (Ex. 5) at 16-17, leading to Lipitor’s approval for primary

prevention.   ASCOT also included diabetes as a pre-specified tertiary endpoint and was

designed to contemporaneously collect and adjudicate diabetes data by a blinded endpoints

committee.    The results of this independent adjudication did not report a statistically significant

association with diabetes (RR 1.15, 95% CI 0.91–1.44).22         The study was consistent with a

finding of no effect of Lipitor on diabetes diagnosis rates.

       In addition to placebo-controlled trials, active comparator clinical trials were conducted.

The IDEAL study compared high-dose Lipitor to Zocor (simvastatin) in patients with CHD.

IDEAL reported a significant reduction in the “risk of other composite secondary end points and

nonfatal acute [myocardial infarction].”23   The Treating to New Targets (TNT) trial compared a

10 mg dose of Lipitor to the 80 mg dose in patients with CHD and reported that the 80 mg dose

“significantly reduced the rate” of major cardiovascular events in the study population, “with a

relative risk reduction of 22%.” 2015 Lipitor Label (Ex. 5) at 18.       Based on the results from

TNT and IDEAL, FDA approved Lipitor for secondary prevention of CHD.

       The Stroke Prevention through Aggressive Cholesterol Lowering (SPARCL) trial was a

placebo-controlled trial designed to test whether 80 mg Lipitor prevents stroke in patients who



       21
           Sever et al., Prevention of coronary and stroke events with atorvastatin in
hypertensive patients who have average or lower-than-average cholesterol concentrations, in the
Anglo-Scandinavian Cardiac Outcomes Trial – Lipid Lowering Arm (ASCOT-LLA): a
multicentre randomised controlled trial, 361 Lancet 1149, 1150 (2003) (Ex. 26).
       22
          Id. at 1153 tbl.3. “RR” denotes the relative risk, and “95% CI” denotes the 95%
confidence interval, which are explained more thoroughly below.
       23
          Pedersen et al., High-dose atorvastatin vs usual-dose simvastatin for secondary
prevention after myocardial infarction: the IDEAL study: a randomized controlled trial, 294
JAMA 2437 (2005) (Ex. 27).



                                                 15
 2:14-mn-02502-RMG             Date Filed 07/24/15        Entry Number 972          Page 24 of 61




already had a stroke.24    While diabetes was not an endpoint in SPARCL, Pfizer conducted a

post hoc analysis, which it reported to FDA in 2007, of more physician reports of diabetes in the

Lipitor group than placebo.    This led to the following disclosure being added to the Lipitor label

in 2009:    “Diabetes was reported as an adverse reaction in 144 subjects (6.1%) in the [Lipitor]

group and 89 subjects (3.8%) in the placebo group.” 2015 Lipitor Label (Ex. 5) at 9.

       Around the time of that label change, a group of investigators including Pfizer employees

conducted another post hoc analysis of the SPARCL data as to diabetes.              This exploratory

analysis, published in 2011 together with analyses of TNT and IDEAL, reported that Lipitor 80

mg was “associated with a slightly increased risk” of newly diagnosed (i.e., new onset) diabetes

in SPARCL participants who already had risk factors for diabetes (RR 1.37, 95% CI 1.08-

1.75).25    Only patients with 3 or 4 preexisting risk factors for diabetes – including elevated

glucose at baseline and high BMI – experienced an increased risk and only at 80 mg.26             The

analysis also reported that the strongest predictors of the new diagnosis of diabetes in these trials

did not involve the use of statins, but rather “baseline fasting glucose level” and other risk factors

for diabetes, “specifically higher triglycerides, higher BMI, and hypertension.”27      As one of its

co-authors explained, “the study does not say that Lipitor causes diabetes.” DeMicco Tr. (Ex.

30) at 607:24-609:7.    Where there are no risk factors – or, indeed, less than three risk factors –

there is no increased risk.     The study found “no difference between Lipitor 80 and the

comparator group” for zero to two risk factors, and a statistically significant association only in a

“small number of patients who have three or four risk factors,” and at the 80 mg dose.      Id.

       In 2012, as one of several so-called “class” changes to labeling for many different statins,

FDA directed that the following language be added to the warnings section of the physician-

       24
           Amarenco et al., High-Dose Atorvastatin after Stroke or Transient Ischemic Attack,
355 NEJM 549 (2006) (Ex. 28).
        25
           Waters et al., Predictors of new-onset diabetes in patients treated with atorvastatin:
results from 3 large randomized clinical trials, 57 J. Am. Coll. Cardiol. 1535, 1535 (2011) (Ex.
29).
        26
           Id. at 1542.
        27
           Id.



                                                 16
 2:14-mn-02502-RMG            Date Filed 07/24/15        Entry Number 972         Page 25 of 61




directed prescribing information for Lipitor:    “Increases in HbA1c and fasting serum glucose

levels have been reported with [statins], including LIPITOR.” 2015 Lipitor Label (Ex. 5) at 6.

This labeling change was instituted for Lipitor and several other statins based on FDA’s review

of various published statin studies and meta-analyses involving diabetes and glucose data.    FDA

emphasized that it “continues to believe that the cardiovascular benefits of statins outweigh these

small increased risks.”28   FDA has never concluded that Lipitor causes diabetes.

                   THRESHOLD SCRUTINY OF EXPERT TESTIMONY

       Throughout its threshold analysis, “the trial judge must ensure that any and all scientific

testimony or evidence admitted is not only relevant, but reliable.” Daubert v. Merrell Dow

Pharms., Inc., 509 U.S. 579, 589 (1993).     These “exacting standards of reliability,” Weisgram v.

Marley Co., 528 U.S. 440, 455 (2000), provide that “conjecture, hypothesis, subjective belief, or

unsupported speculation are impermissible grounds on which to base an expert opinion.”

Wehling v. Sandoz Pharm. Corp., 162 F.3d 1158, 1998 WL 546097, at *5 (4th Cir. 1998) (per

curiam).    Courts must ensure the expert “employs in the courtroom the same level of

intellectual rigor that characterizes the practice of an expert in the relevant field.” Kumho Tire

Co. v. Carmichael, 526 U.S. 137, 152 (1999); see Braun v. Lorillard Inc., 84 F.3d 230, 234 (7th

Cir. 1996); Watkins v. Telsmith, Inc., 121 F.3d 984, 990 (5th Cir. 1997); Allen v. Pa. Eng’g Co.,

102 F.3d 194, 198 (5th Cir. 1996).      “[C]lose judicial analysis of expert testimony is necessary

‘because expert witnesses are not necessarily always unbiased scientists.’” Nelson v. Tenn. Gas
Pipeline Co., 243 F.3d 244, 252 (6th Cir. 2001) (quoting Turpin v. Merrell Dow Pharms., Inc.,

959 F.2d 1349, 1352 (6th Cir. 1992)).          “[T]he courtroom is not the place for scientific
guesswork, even of the inspired sort.     Law lags science; it does not lead it.” Rosen v. Ciba-

Geigy Corp., 78 F.3d 316, 319 (7th Cir. 1996).
       Courts must exclude expert evidence that is not “based on sufficient facts or data,” that is

not “the product of reliable principles and methods,” or that has not “reliably applied the

       28
          FDA Drug Safety Communication: Important safety label changes to cholesterol-
lowering statin drugs (Feb. 28, 2012) (Ex. 31).



                                                 17
 2:14-mn-02502-RMG             Date Filed 07/24/15        Entry Number 972         Page 26 of 61




principles and methods to the facts of the case.”     Fed. R. Evid. 702.   “[A]ny step that renders

the analysis unreliable under the Daubert factors renders the expert’s testimony inadmissible.

This is true whether the step completely changes a reliable methodology or merely misapplies

that methodology.” In re Paoli R.R. Yard PCB Litig., 35 F.3d 717, 745 (3d Cir. 1994).

        Though Daubert addresses methods, “[a]s the Supreme Court has recognized,

‘conclusions and methodology are not entirely distinct from one another,’” Cooper v. Smith &

Nephew, Inc., 259 F.3d 194, 202 (4th Cir. 2001) (quoting Gen. Elec. Co. v. Joiner, 522 U.S. 136,

146 (1997)), and the difference “has only limited practical import.” Paoli, 35 F.3d at 746.

“When a judge disagrees with the conclusions of an expert, it will generally be because he or she

thinks that there is a mistake at some step in the investigative or reasoning process of that

expert.” Id.      “[T]rial judges may evaluate the data offered to support an expert’s bottom-line

opinions to determine if that data provides adequate support to mark the expert’s testimony as

reliable.” Brown v. Nucor Corp., 785 F.3d 895, 936 (4th Cir. 2015) (quotation omitted).          “A

court may conclude that there is simply too great an analytical gap between the data and the

opinion proffered” and preclude the testimony.      Joiner, 522 U.S. at 146.

        While the Daubert inquiry is “a flexible one,” there are general factors for determining

reliability.   Daubert, 509 U.S. at 593-94.    Of particular importance is whether “the theory ...

can be (and has been) tested.” Id. at 593. Another factor is whether the theory has been

subjected to evaluation by peer review and publication. Id. A third factor is the known or
potential rate of error and the existence and maintenance of standards controlling the technique’s

operation.     Id. at 594. A final consideration is whether the theory has been generally accepted
in the scientific community.    Id.   These factors are “neither definitive nor exhaustive, however,

and some factors may be more pertinent than others depending on the nature of the issue, the
expert’s particular expertise, and the subject of his testimony.” Newman v. Motorola, Inc., 218

F. Supp. 2d 769, 773 (D. Md. 2002) (quotation omitted), aff’d, 78 F. App’x 292 (4th Cir. 2003).

        “‘[E]xpert evidence can be both powerful and quite misleading.’” Daubert, 509 U.S. at

595 (citation omitted).    Plaintiffs, as the proponents of the expert evidence, bear the burden of



                                                 18
 2:14-mn-02502-RMG                 Date Filed 07/24/15        Entry Number 972        Page 27 of 61




showing that it is admissible.           In re Digitek Prods. Liab. Litig., 821 F. Supp. 2d 822, 837

(S.D.W.Va. 2011).      Pfizer does not bear the burden of demonstrating its inadmissibility.         See

Soldo v. Sandoz Pharms. Corp., 244 F. Supp. 2d 434, 534 (W.D. Pa. 2003).

        Daubert carefully distinguishes between the threshold reliability inquiry that Plaintiffs

must satisfy and the role of cross-examination.           “Vigorous cross-examination, presentation of

contrary evidence, and careful instruction on the burden of proof are the traditional and

appropriate means of attacking shaky but admissible evidence .... These conventional devices ...

are the appropriate safeguards where the basis of scientific testimony meets the standards of

Rule 702.”      Daubert, 509 U.S. at 596 (emphasis added) (citations omitted).                 “[B]ut the

testimony proffered here is not merely shaky:          it is unreliable” and “should not be admitted.”

Am. Honda Motor Co., Inc. v. Allen, 600 F.3d 813, 818-19 (7th Cir. 2010).

           THE ELEMENTS OF GENERAL CAUSATION ARE ABSENT HERE
        “[T]o carry the burden of proving a plaintiff’s injury was caused by exposure to a

specified substance, the plaintiff must demonstrate the levels of exposure that are hazardous to

human beings generally as well as plaintiff’s actual level of exposure.” Zellers v. NexTech Ne.,

LLC, 533 F. App’x 192, 196 (4th Cir. 2013) (quotation omitted).                 “These two levels of

causation are known as ‘general causation’ and ‘specific causation.’”        Id. at 196 n.6.

        To establish general causation in a pharmaceutical products liability case, “the generally

accepted method” begins, but does not end, by “look[ing] for statistically significant associations

between medication exposure and [the injury], which are consistent and replicated across

epidemiological studies.” In re Zoloft (Sertraline Hydrochloride) Prods. Liab. Litig., 26 F.

Supp. 3d 449, 455 (E.D. Pa. 2014).               “Statistical significance” is a measurement of the

likelihood that any observed association – the relative risk or the odds ratio – is due to chance.

Typically, this is a 95% likelihood that the true value lies within a range – the confidence interval

– reported by the study.         Reference Manual on Scientific Evidence (3d ed. 2011) (RM (3d)) at

579-81.    Thus, if the confidence interval includes 1.0, which is known as the “null,” the result is

not statistically significant.     Id.



                                                     19
 2:14-mn-02502-RMG              Date Filed 07/24/15        Entry Number 972           Page 28 of 61




         A reliable methodology also considers whether any statistically significant result reflects

a “true” association or a “false” association stemming from bias or confounding.        See id. at 583-

96.   Bias refers to systematic, non-random error – for example, information bias where the

available records for one group are more likely to include relevant information than another.

Id. at 585.     Confounding refers to related factors that may be the true or contributory cause of

an observed association – for example, if the group taking the study medication has risk factors

that may also be the cause of the disease being studied.     Id. at 591.

         If – and only if – a statistically significant true association is established through multiple

studies, reliable methodology will then apply the Bradford Hill factors for evaluating whether the

association is causal.    See Frischhertz v. Smithkline Beecham Corp., 2012 WL 6697124, at *3

(E.D. La. Dec. 21, 2012); accord Dunn v. Sandoz Pharm. Corp., 275 F. Supp. 2d 672 (M.D.N.C.

2003).      These factors include “strength of relationship, consistency, specificity, temporality,

dose response, biologic plausibility, coherence, experimental evidence, and analogy.”            Dunn,

275 F. Supp. 2d at 677 n.5 (citing Sir Austin Bradford Hill, The Environment and Disease:

Association or Causation, 58 Proc. Royal Soc’y Med. 295, 295-300 (1965) (Ex. 32)).
         Plaintiffs’ experts cannot satisfy the above standards.     The clinical features of diabetes

preclude them from establishing that anyone diagnosed with diabetes while on Lipitor would not

have developed diabetes without Lipitor.      They use unreliable methodology that ignores clinical

understanding of diabetes in favor of a litigation-driven analysis, cherry-pick data to support

their conclusions, and torture data to say the opposite of the study authors’ conclusions.        They

have no evidence from clinical trials of a statistically significant association with new diagnoses

of diabetes at doses less than 80 mg with people who have less than three risk factors for

diabetes.     This Court should exclude Plaintiffs’ general causation opinions.

I.       PLAINTIFFS’ EXPERTS CONTRADICT THEIR OWN CLINICAL WORK

A.       Plaintiffs’ Experts’ Causation Opinions Contradict Their Clinical Opinions

         Plaintiffs’ experts’ general causation testimony is inadmissible.       They offer litigation

opinions that are contradictory to their experts’ clinical opinions in their professional practice



                                                   20
 2:14-mn-02502-RMG             Date Filed 07/24/15        Entry Number 972         Page 29 of 61




regarding the diabetes disease process.    While Plaintiffs’ medical experts offer many opinions

on the diabetes disease process, their causation opinions are based principally on the analysis of

certain Lipitor clinical trial data by Dr. Jewell.     Dr. Jewell is not a medical doctor or an

epidemiologist, but a statistician.   He has no experience in clinical practice and he refuses to

address any clinical issues.   Due to his lack of clinical knowledge or expertise, his causation

opinion is untethered – and, in fact, contradictory – to the opinions of Plaintiffs’ medical experts

as to the diabetes disease process.   Yet those experts nevertheless rely on Dr. Jewell’s analysis

without making any attempt to reconcile their litigation opinions with their own clinical

understanding of the diabetes disease process based on their professional work.           Plaintiffs’

general causation opinions are thus unreliable and inadmissible.

       1.       Plaintiffs’ Experts Ignore Their Admissions on Diabetes Disease Progression
       The progression from diabetes disease initiation to diagnosis is, as noted, “a long, slow

process” that takes “at least a decade or so.” Gale Tr. (Ex. 1) at 174:5-175:18, 183:6-12; Quon

Tr. (Ex. 2) at 240:3-24.   Plaintiffs’ expert testimony on the actual effect of Lipitor shows that

they do not in fact think that Lipitor causes diabetes.   For instance, Dr. Quon does not believe

that statins initiate the diabetes disease process, Quon Tr. (Ex. 2) 82:18-83:23, but that Lipitor

could “unmask” preexisting diabetes.       Id. at 273:13-15.    Likewise, Dr. Gale believes that

Lipitor is “the straw that breaks the camel’s back” and is “the final trigger that precipitates ... a

clinical diagnosis” – but with a disease process that unfolds for many years before a patient

reaches a blood glucose level that crosses the diagnostic threshold.     Gale Tr. (Ex. 1) at 135:4-

136:13.     Apart from the problem of contending that “a contributing factor as figuratively

insubstantial as a straw equates to a substantial contributing factor,” Haller v. AstraZeneca

Pharms. LP, 598 F. Supp. 2d 1271, 1299 (M.D. Fla. 2009), this testimony effectively concedes

that the disease process begins many years before and, thus, is not caused by Lipitor.

       “‘[I]f a disease or illness in an individual preceded the established period of exposure,

then it cannot be concluded that the chemical caused the disease.’” McClain v. Metabolife Int’l,

Inc., 401 F.3d 1233, 1243 (11th Cir. 2005) (quotation omitted).      “Without exposure before the



                                                 21
 2:14-mn-02502-RMG               Date Filed 07/24/15       Entry Number 972          Page 30 of 61




disease, causation cannot exist.” RM (3d) at 601.         “[T]he exposure … must not just precede

the outcome, but must do so by a period of time that is consistent with biologic mechanisms,” for

“[a] disease process that precedes the exposure cannot be caused by that exposure.” Hennekens

Rpt. (Ex. 14) at 31.   As the Eleventh Circuit explained in a case alleging that a medicine caused

diabetes, “[t]emporal proximity is generally not a reliable indicator of a causal relationship,”

particularly where “the development of diabetes occurs gradually over many years,” but is

diagnosed shortly after ingesting the alleged cause.        Guinn v. AstraZeneca Pharms. LP, 602

F.3d 1245, 1254 (11th Cir. 2010).      As Pfizer’s expert Dr. Hennekens explains, “[s]ince diabetes

develops over years to decades, the disease process is most likely to have begun well in advance

of the initiation of statin therapy.” Hennekens Rpt. (Ex. 14) at 55.      Thus, whatever the studies

that Dr. Jewell analyzed show, they cannot show that Lipitor causes pre-existing disease.

        Dr. Jewell did not even attempt to square his statistical analysis with clinical medicine.

In fact, he insisted he is unqualified to do so, stating repeatedly that he is “not a clinician.”

Jewell Tr. (Ex. 7) at 18:10-13, 33:18-22, 60:25-61:2, 95:16-96:4, 293:13-19.         With no medical

training, Dr. Jewell testified that he is not an expert in diabetes, id. at 18:5-6, not an expert in

glucose metabolism, id. at 18:7-9, and not an expert in the diagnosis and development of clinical

diseases.   Id. at 61:24-62:6.    He would not answer the questions of what level of fasting blood

glucose physicians consider normal, id. at 18:25-19:7, how long it takes a person to develop

Type 2 diabetes, id. at 61:11-14, or even what is Type 2 diabetes.           Id. at 61:3-5.   Yet he
nevertheless considers himself qualified to develop a methodology for analyzing data concerning

the diagnosis of diabetes in a host of clinical trials.   Dr. Jewell’s ignorance and disregard of the
clinical features of the diabetes disease process renders his analysis unreliable.

        While Plaintiffs’ experts place less emphasis on Dr. Singh’s analysis, it suffers from the
same problem as Dr. Jewell’s.      Unlike Dr. Jewell, Dr. Singh is a medical doctor and purports to

offer opinions on the clinical nature of diabetes.        Yet his attempt to reconcile that clinical

understanding with his analysis is circular and unreliable.        See O’Conner v. Commonwealth

Edison Co., 807 F. Supp. 1376, 1396 (C.D. Ill. 1992), aff’d, 13 F.3d 1090 (7th Cir. 1994).       Dr.



                                                  22
 2:14-mn-02502-RMG             Date Filed 07/24/15         Entry Number 972            Page 31 of 61




Singh recognizes the slow development of diabetes, stating that “[f]or the most part,” diabetes

takes place “over many years.” Singh Tr. (Ex. 3) at 63:1-10.            Yet he asserts that this was

“[n]ot [true] for Lipitor” because “[i]n some of the statin studies it’s occurring over four months”

or “six months.” Id.     Dr. Singh thus assumes what he purports to prove:        that Lipitor must be

causing diabetes.     Rather than conforming his opinions to the clinical fact of a slowly

developing diabetes disease process, Dr. Singh distorts the facts to fit his theory.    As a result, he

unreliably assumes that the diabetes disease process occurs a full decade faster with Lipitor than

under any other known circumstance.       The law instructs that an expert cannot engage in circular

reasoning and assume the very fact he has been engaged to resolve, Clark v. Takata Corp., 192

F.3d 750, 757 (7th Cir. 1999), and this analytical leap renders Dr. Singh’s opinion inadmissible.

        Dr. Singh similarly opines that temporality supports causation because “[i]n each case,

statin exposure occurred before the development of diabetes, and in the majority of cases, the

onset of diabetes was relatively shortly after statin exposure (frequently < 4 months).” Singh

Rpt. (Ex. 6) at 36.      But the emphasis by Plaintiffs’ experts on any association with new

diagnosis of diabetes misses the point.      By focusing on the diagnosis rather than the disease,

Plaintiffs confuse the map with the terrain.    A diagnosis of diabetes is like crossing the equator,

an imaginary line with little geologic significance.    Because diabetes takes “at least a decade or

so” to develop, Gale Tr. (Ex. 1) at 174:5-175:18; 183:6-12; see Quon Tr. (Ex. 2) at 240:3-24,

Plaintiffs’ experts’ focus should not be on the events immediately preceding the crossing of an
arbitrary line, but the events that started the patient down the road to that line or materially

moved her forward on it.     Their failure to do so renders their testimony unreliable.
        2.      Plaintiffs’ Experts Ignore the Small Size of the Alleged Risk

        Plaintiffs’ experts make much of the small alleged risk of newly-diagnosed diabetes

associated with statin use, but they do little to explain the basis for their opinion that such a slight

association is causal.    The magnitude of a reported association is a key factor in assessing

causality.   See Dunn, 275 F. Supp. 2d at 677 n.5; Hill (1965) (Ex. 32) at 295-300.               Here,

Plaintiffs’ experts’ estimate of the risk is small.     That alleged risk must be evaluated in the



                                                  23
 2:14-mn-02502-RMG              Date Filed 07/24/15         Entry Number 972         Page 32 of 61




context of other well recognized and far larger risks, some of which are more than 200 times

larger.    The risk of diabetes is, as Dr. Gale admits, “largely determined by the quartet of age,

obesity, family history, and ethnicity.” Gale Tr. (Ex. 1) at 133:18-23.         Other recognized risk

factors include sedentary lifestyle, high blood pressure, high triglycerides, low HDL cholesterol,

depression, psychosis, cigarette smoking, and exposure to some environmental toxins.               See

Quon Tr. (Ex. 2) at 85:10-21; Fonseca Rpt. (Ex. 18) at 6; Elasy Rpt. (Ex. 17) at 7.

          As Dr. Gale admits, the alleged risk associated with statins pales in comparison to the

large relative risk conferred by increased weight.       Gale Tr. (Ex. 1) at 116:6-16; 178:4-15.   For

example, compared to women with a BMI of less than 22, the relative risk of diabetes is 210%

for women with a BMI of 22-22.9; 350% with a BMI of 23-23.9; and greater than 500% with a

BMI of 25-26.9.29     Hennekens Rpt. (Ex. 14) at 51-52.       To put these BMIs in context, a BMI of

25-29 is considered overweight; obesity begins with a BMI of 30.          In contrast, Dr. Singh states

that, based on his own meta-analysis, the relative risk of diabetes attributable to statins is only

about 9%.      Singh Rpt. (Ex. 6) at 34.        The risk allegedly associated with statins is further

dwarfed by the presence of prediabetes, which is both a component of the same disease process

and a risk factor that increases the risk of diabetes diagnosis as much as 2000% (or 222 times the

risk that Dr. Singh attributes to statins).30

          Because diabetes involves so many risk factors, none of Plaintiffs’ experts is “aware of

any method where you could say in an individual patient by how much Lipitor had an effect on

or accelerated their diagnosis of diabetes.” Gale Tr. (Ex. 1) at 209:17-210:2; see also Quon Tr.

(Ex. 2) at 326:18-327:4; Singh Tr. (Ex. 3) at 324:6-325:6; Abramson Tr. (Ex. 4) at 161:6-25.

As Dr. Hennekens explains, “it is difficult, if not impossible, to reliably detect any possible small

hazards on diabetes which occur over a few years, in the context of proven large hazards such as



          29
           Body Mass Index (BMI) is “a person’s weight in kilograms divided by the square of
height in meters” and is “used to screen for weight categories.” CDC, Body Mass Index,
http://www.cdc.gov/healthyweight/assessing/bmi/.
        30
           ADA (2015) (Ex. 24) at S10.



                                                    24
 2:14-mn-02502-RMG             Date Filed 07/24/15         Entry Number 972           Page 33 of 61




body weight and other major risk factors, which occur over decades.” Hennekens Rpt. (Ex. 14)

at 52.   Nor do the clinical trials report a relative risk of diabetes greater than 2.0, which is a

factor that some courts consider on the issue of specific causation.     RM (3d) at 612.

         Though the failure of Plaintiffs to reliably determine whether a given agent may have

caused an individual Plaintiff’s injury is typically a question of specific causation, here, because

of the large number of well-recognized risk factors for diabetes, many of which exceed by

several multiples the risk that Plaintiffs’ experts attribute to Lipitor, there is a need to consider

these issues generally.    While Pfizer will be filing its specific causation Daubert motions in the

near future, in this unique situation, the ability of Plaintiffs’ experts to prove specific causation is

thus relevant to the background of the Court’s consideration of general causation as well.         And

if no expert can, using appropriate scientific methods, reliably opine which of a given set of risk

factors caused diabetes in most if not all cases, then no expert can reliably opine as to causation.

That Plaintiffs’ experts purport to do so renders their testimony unreliable.

         While Plaintiffs’ position is that Lipitor causes diabetes, they cannot resort to the fall-

back position of trying to claim causation of glucose elevation, rather than the diabetes disease

process itself.    This is so because the blood glucose elevations that they claim are associated

with Lipitor, like the alleged risk of diabetes, are also very small and of no clinical significance.

Plaintiffs’ experts base their causation opinions on slight elevations of glucose, which, even if

they cross a diagnostic threshold, do not necessarily signify any clinically significant
physiological change.     See Quon Tr. (Ex. 2) at 245:25-246:15; Gale Tr. (Ex. 1) at 143:17-144:3.

Dr. Gale estimates the average glucose increase as 0.1% HbA1c – or 2 to 3 mg/dl – which on
average “is not going to matter” and “would not worry [him] as a clinician.” Gale Tr. (Ex. 1) at

49:12-50:1, 205:2-13, 154:2-9.     Dr. Quon also agrees that such small changes are not “clinically
relevant.”   Quon Tr. (Ex. 2) at 175:22-176:20.        Thus, even if Plaintiffs try to narrow their

experts’ position to causation of increased glucose levels, such very small changes have no

clinical effect.   Plaintiffs’ experts offer no evidence or scientific methodology to conclude that

an admittedly clinically insignificant and minuscule elevation in blood glucose – raising HbA1c



                                                  25
 2:14-mn-02502-RMG             Date Filed 07/24/15         Entry Number 972           Page 34 of 61




by only 0.1% – is somehow causal or a substantial contributing factor to a decade long disease

process that they admit is driven by multiple factors, age and obesity being “the two main

drivers.” Gale Rpt. (Ex. 12) at 4.    This is a far cry from causing diabetes.

         3.     Plaintiffs’ Experts Concede There Is No Biological Plausibility

         Not only are Plaintiffs’ causation opinions inconsistent with the admitted clinical course

of diabetes, but Plaintiffs’ clinical experts also concede that biological plausibility is not satisfied

in this case.   Singh Tr. (Ex. 3) at 363:11-364:24; see also Quon Tr. (Ex. 2) at 87:2-8; Gale Tr.

(Ex. 1) at 68:13-69:14, 70:1-24.     Some courts have excluded experts who, among other things,

were unable to “describe the mechanism … that would cause [plaintiff’s] condition.” Zellers v.

NexTech Northeast, LLC, 895 F. Supp. 2d 734, 747 (E.D. Va. 2012), aff’d, 533 F. App’x 192

(4th Cir. 2013); accord Dellinger v. Pfizer Inc., 2006 WL 2057654, at *9 (W.D.N.C. July 19,

2006).    Exclusion has thus been affirmed where the experts “were unable to explain the

physiological mechanism” by which the substance at issue allegedly caused the disease.

Hollander v. Sandoz Pharms. Corp., 289 F.3d 1193 (10th Cir. 2002); accord McClain, 401 F.3d

at 1245-46.     The “inability to show a mechanism” – that is, a “testable biologic explanation” –

“demonstrates a faulty methodology that is not scientifically valid.” Soldo, 244 F. Supp. 2d at

571-72; see also Siharath v. Sandoz Pharm. Corp., 131 F. Supp. 2d 1347, 1361-62 (N.D. Ga.

2001).    Plaintiffs lack any reliable methodology to explain how Lipitor causes diabetes within

the known clinical pathways of the disease, which reinforces that Plaintiffs have “not shown that
the experts’ general-causation opinions are admissible.” DeGidio v. Centocor Ortho Biotech,

Inc., 3 F. Supp. 3d 674, 687-88 (N.D. Ohio 2014).
B.       Dr. Jewell Creates a Litigation-Only Definition of “Glucose Abnormalities”

         The mismatch of statistical results and medical facts is not a glitch, but a feature, of Dr.
Jewell’s analysis.    The error pervades his opinion through his definition of being “without

baseline glucose abnormalities,” which he created for purposes of this litigation and without any

reference to generally accepted medical or clinical understanding.           Dr. Jewell clung to his

opinions throughout his deposition only by repeatedly disclaiming all clinical knowledge, even



                                                  26
 2:14-mn-02502-RMG              Date Filed 07/24/15        Entry Number 972        Page 35 of 61




as to the key assumptions driving his analysis.        For example, he denied knowing how long it

takes a person to develop Type 2 diabetes, Jewell Tr. (Ex. 7) at 61:11-19, whether the diabetes

process is a continuum, id. at 63:6-12, and whether diabetes can exist in a patient and go

undiagnosed for years.      Id. at 66:13-16.   The result is an analysis that is untethered to any

meaningful medical understanding of diabetes.

          This disregard of recognized scientific and medical knowledge is built into the foundation

of Dr. Jewell’s analysis.    He creates his own, private definition of whether study subjects were

“without baseline glucose abnormalities” when they entered the study – if their “baseline

glucose” was less than or equal to 125 mg/dl. Jewell Rpt. (Ex. 10) at 4 n.1.        As Dr. Gale so

gently puts it, Dr. Jewell “used a slightly unusual way” of defining the criteria for diabetes.

Gale Tr. (Ex. 1) at 267:16-19.      While it does not itself show a basic math error, through this

definition, Dr. Jewell ignores prediabetic individuals with glucose values between 100 and 125

mg/dl, who are nevertheless subject to the same disease process as those who pass the 125 mg/dl

diagnostic cut point for diabetes.     Dr. Jewell admits that he does not “talk about the term

‘prediabetes’ … anywhere in [his] report,” Jewell Tr. (Ex. 7) at 71:8-13, he does not discuss

whether prediabetes is a glucose abnormality, id. at 71:14-20, and he did not know or try to

determine how many prediabetic individuals were in the studies he analyzed.         Id. at 253:9-22;

283:12-19; 284:16-23; 285:20-286:12.

          A statistician cannot take blood level ranges medically recognized as abnormal and
redefine them as normal. Doing so “‘reveals a methodological flaw that cannot be overlooked

by the court’” and “[s]uch a definition of abnormality would deprive the term of all
meaning.” Adams v. Cooper Indus., Inc., 2007 WL 1805586, at *4 (E.D. Ky. June 21, 2007)

(quoting Allgood v. General Motors Corp., 2006 WL 2669337, at *28-29 (S.D. Ind. Sept. 18,
2006)).     It “is not a scientifically valid methodology because it does not take into account the

normal distribution of data within a population.” Id. For example, in Adams, the court noted

that, under the expert’s “approach, one would expect half the world’s population of

approximately six billion people (everyone with levels above the median) to be entitled to a



                                                  27
 2:14-mn-02502-RMG             Date Filed 07/24/15       Entry Number 972         Page 36 of 61




special medical monitoring program.” Id. (quoting Allgood).      The CDC estimates that some 86

million adults nationwide have prediabetes.31     Gale Rpt. (Ex. 12) at 9.    Deeming such people

to be “without baseline glucose abnormalities,” Jewell Rpt. (Ex. 10) at 4, n.1, cannot help but

skew the meaning of Dr. Jewell’s analysis.        By waving his statistical wand, Dr. Jewell’s

definition renders millions of people “without baseline glucose abnormalities,” contravening

generally accepted medical knowledge.

       Dr. Jewell claims that he ignored prediabetic individuals “for the sake of brevity” and just

divided his analysis into two groups – those with and those (supposedly) “without baseline

glucose abnormalities.” Jewell Rpt. (Ex. 10) at 4 n.1; Jewell Tr. (Ex. 7) at 72:11-73:8.       But

reliability, not brevity, is the touchstone of the Daubert analysis.   What Dr. Jewell treats as a

binary distinction is instead acknowledged both by Plaintiffs’ clinical experts and major public

health organizations as an intermediate stage in the development of diabetes.

       Though Dr. Jewell cites ADA materials that explain that prediabetes is part of the same

disease process as diabetes, Dr. Jewell chooses to ignore that information.      In the same ADA

document about diabetes that Dr. Jewell cites, Jewell Rpt. (Ex. 10) at 25 n.55, the ADA explains

that “[a] disease process may be present but may not have progressed far enough to cause

hyperglycemia.     The same disease process can cause impaired fasting glucose (IFG) and/or

impaired glucose tolerance (IGT) without fulfilling the criteria for the diagnosis of diabetes.”

That is, there is “an intermediate group of individuals whose glucose levels do not meet criteria
for diabetes, yet are higher than those considered normal.   These people were defined as having

impaired fasting glucose (IFG) [fasting plasma glucose (FPG) levels 100 mg/dl to 125 mg/dl].
[Such individuals] have been referred to as having prediabetes, indicating the relatively high risk

for the future development of diabetes” and their IFG “can be observed as intermediate stages
in” the development of Type 2 diabetes.32



       31
            CDC, National Diabetes Statistics Report (2014) (Ex. 11), at 3.
       32
            ADA (2014) (Ex. 16) at S81 & S82 (Fig. 1).



                                                28
 2:14-mn-02502-RMG             Date Filed 07/24/15        Entry Number 972         Page 37 of 61




         Dr. Jewell protests that he “did not cite this paragraph at all in my report,” and tries to

justify his omission by making the startling assertion that “[i]t’s not what I cited this document

for.”    Jewell Tr. (Ex. 7) at 349:21-350:15.       Dr. Jewell cannot simply cherry-pick favored

propositions from the generally accepted sources he cites, especially where those sources

undermine his analysis.     Though Dr. Jewell testified that “it’s quite clear [patients] are without

a baseline glucose abnormality if – normally if they’re less than or equal to 125 milligrams per

deciliter,” id. at 71:21-72:7, the generally accepted scientific view is decidedly the opposite.

Dr. Jewell’s testimony has previously been excluded due to offering clinical opinions beyond his

expertise.    See In re Guidant Corp. Implantable Defibrillators Prods. Liab. Litig., 2007 WL

1964337, at *11 (D. Minn. June 29, 2007).         Here, as well, his testimony should be stricken

because he simply ignores recognized, well-accepted medical knowledge.

C.       Dr. Jewell’s Litigation-Only Opinions Are a Moving Target
         Plaintiffs sought to cure the error of Dr. Jewell’s litigation-only definition of “without

baseline glucose abnormalities” with revised opinions after Dr. Jewell’s initial deposition.

Belatedly recognizing this error, Dr. Abramson served an errata at his deposition disclaiming his

previous reliance on Dr. Jewell’s definition.     Abramson Errata (Ex. 33).      That is, when the

problem with this definition “was brought to Dr. Jewell’s attention in his deposition,” Dr.

Abramson “thought that was a fair comment on Pfizer’s part.” Abramson Tr. (Ex. 4) at 150:2-

17.     Since his and Dr. Jewell’s use of “the term ‘baseline glucose abnormality’ to describe

people whose blood sugar was above 125 was the wrong term,” he wanted to correct it.           Id. at

178:1-12.     In reality, a “baseline glucose abnormality” is “anything over 100.” Id. at 179:22-

180:3.    Similarly, Dr. Jewell served a “rebuttal” report that purports to stratify his SPARCL

analysis according to various glucose thresholds.     Jewell Reb. Rpt. (Ex. 34) at 32-34.

         But rather than saving their opinions, the evolution of these experts’ opinions in response

to these challenges shows that their methods are not based on science, but are designed for

litigation.   Courts have properly excluded such expert evidence where it was a “veritable

moving target” whose “underpinnings … have changed in direct response” to litigation scrutiny.



                                                 29
 2:14-mn-02502-RMG            Date Filed 07/24/15       Entry Number 972               Page 38 of 61




Haller, 598 F. Supp. 2d at 1296-97; see also Miller v. Pfizer, Inc., 356 F.3d 1326, 1330 (10th

Cir. 2004); Glastetter v. Novartis Pharms. Corp., 107 F. Supp. 2d 1015, 1032 (E.D. Mo. 2000),

aff’d, 252 F.3d 986 (8th Cir. 2001).   In Bausch & Lomb, Judge Norton rejected similar expert

testimony that was “in flux throughout [the] litigation,” and subject to change through a

“supplemental report … containing additional opinions.” In re Bausch & Lomb, Inc. Contact

Lens Solution Prods. Liab. Litig., 2009 WL 2750462, at *12 (D.S.C. Aug. 26, 2009).                   An

expert’s “willingness to abandon or qualify her opinions when faced with further facts,

undermines the reliability of her opinions.” Id. at *13.      So, too, here.

II.    PLAINTIFFS’ GENERAL CAUSATION METHODOLOGY IS UNRELIABLE
A.     Plaintiffs’ Experts Conflate Association With Causation

       Plaintiffs’ experts’ general causation opinions are unreliable because they are predicated

on a fatal – and elementary – conflation of association with causation.             With regard to his

analysis of SPARCL, Dr. Jewell testified that his opinion that SPARCL showed “significantly

increased risk of new onset diabetes with 80 milligrams of [Lipitor] ... means that Lipitor causes

[new onset diabetes] as defined in SPARCL.”      Jewell Tr. (Ex. 7) at 93:9-94:6.         Dr. Abramson

made the same error, testifying that the terms “causation” and “association” are “used

interchangeably,” and “it’s semantics.” Abramson Tr. (Ex. 8) at 483:18-488:16.                 But as a

fundamental scientific principle, “it should be emphasized that an association is not equivalent to

causation.” RM (3d) at 552 (emphasis added); Miller v. Pfizer, Inc., 196 F. Supp. 2d 1062,

1079-80 (D. Kan. 2002); Magistrini v. One Hour Martinizing Dry Cleaning, 180 F. Supp. 2d

584, 591 (D.N.J. 2002).    “Any scientist or statistician must acknowledge, … correlation is not

causation.” Huss v. Gayden, 571 F.3d 442, 459 (5th Cir. 2009).                 As Dr. Roberts testified,

“[t]he two are not synonymous.” Roberts Tr. (Ex. 9) at 83:17-22.

       Dr. Jewell purported to justify his elimination of the distinction between association and

causation by erroneously asserting that “there is no other explanation” than causation for an

observed association “in a randomized trial.” Jewell Tr. (Ex. 7) at 94:7-16.            There are other

explanations for significant findings in randomized trials.     Even a statistically significant result



                                                30
 2:14-mn-02502-RMG             Date Filed 07/24/15        Entry Number 972         Page 39 of 61




cannot avoid the possibility of mere chance, which can only be avoided through replication in

multiple studies.    The likelihood of a statistically significant but false result increases when an

expert like Dr. Jewell goes beyond study hypotheses and conclusions and instead conducts a post

hoc search for associations within study data.        RM (3d) at 577 n.82.      “When researchers

examine many possible associations that might exist in their data – known as data dredging – we

should expect that even if there are no true causal relationships, those researchers will find

statistically significant associations in 1 of every 20 associations examined.” Id.

       As Dr. Hennekens explains, “simply because the results of an individual randomized trial

not designed a priori to test the hypothesis, exclude chance … does not necessarily imply the

presence of a valid statistical association, let alone a judgment of causality.”    Hennekens Rpt.

(Ex. 14) at 74.     “Causality … is a judgment that is made on the totality of evidence, not from

the results of a single randomized trial, and only after applying a number of positive criteria as

originally described by Bradford Hill.” Id. at 73.        Here, the randomized clinical trials on

statins report “inconsistent results in directionality, magnitude, and significance.” Hennekens

Rpt. (Ex. 14) at 41.     Further, adverse events in clinical trials may also be subject to reporting

bias when they are based on physician or patient reports, rather than objective criteria.      Sacks

Rpt. (Ex. 35) at 48-49. Even for a true association, reliable science must consider other factors,

including the Bradford Hill factors of an appropriate temporal sequence and biological

mechanism, to determine whether a valid association is causal.           Frischhertz v. Smithkline
Beecham Corp., 2012 WL 6697124, at *3 (E.D. La. Dec. 21, 2012); Dunn, 275 F. Supp. 2d 678-

80.   Yet Dr. Jewell failed to do so here.
B.     Dr. Jewell’s Opinion Is Based on Studies That Do Not Test His Hypothesis

       Dr. Jewell’s causation opinion is also flawed because it is premised on a post hoc analysis

of studies that were not designed to test whether Lipitor is associated with diabetes.       As Dr.

Jewell conceded, he initially “did not analyze any other data than the data coming from

SPARCL, TNT, IDEAL and the NDA placebo controlled trial[s].” Jewell Tr. (Ex. 7) at 323:10-

15.   Yet he asserts that only one of these studies – SPARCL – is capable of showing causation,



                                                 31
 2:14-mn-02502-RMG              Date Filed 07/24/15        Entry Number 972          Page 40 of 61




since the NDA placebo-controlled studies were six months or less in duration and TNT and

IDEAL involved active comparators, not placebo.         Jewell Rpt. (Ex. 10) at 12, 48, 61; Jewell Tr.

(Ex. 7) at 93:9-94:6.33      But neither SPARCL nor any of these other studies were designed

beforehand to test whether Lipitor is associated with diabetes.

         “‘Scientific’ knowledge is generated through ... subjecting testable hypotheses to the

crucible of experiment in an effort to disprove them.” United States v. Bynum, 3 F.3d 769, 773

(4th Cir. 1993); accord Black v. Rhone-Poulenc, Inc., 19 F. Supp. 2d 592, 598 (S.D.W.Va.

1998).    Thus, “[e]pidemiologists use an analytic tool known as the ‘null hypothesis,’ which

postulates that there is no association between a specific exposure and a particular outcome. ...

The goal of an epidemiological study is to determine whether one can reject the null hypothesis

and conclude that, in fact, there is an association between the exposure and the outcome.”

Wade-Greaux v. Whitehall Labs., Inc., 874 F. Supp. 1441, 1451-52 (D.V.I. 1994), aff’d, 1994

WL 16973481 (3d Cir. 1994); accord Chambers v. Exxon Corp., 81 F. Supp. 2d 661, 665 (M.D.

La. 2000), aff’d, 247 F.3d 240 (5th Cir. 2001).        “[I]f the individual trials were not designed a

priori to test the hypothesis, then a statistically significant association found in the meta-analysis

should be considered hypothesis formulating, not testing.”       Hennekens Rpt. (Ex. 14) at 21.

         Here, because the studies Dr. Jewell analyzed were not designed to study any association

with diabetes or new diagnoses of diabetes, they were capable only of generating a hypothesis,

not of testing it.     Dr. Gale acknowledges this, stating that post hoc analyses such as those
offered by Dr. Jewell “have to be handled with caution” because “methodological problems

arise,” and that they are “hypothesis generating at best.” Gale Tr. (Ex. 1) at 270:11-271:7
(emphasis added).      This is true of Dr. Jewell’s analyses in general, as well as his sub-analysis of

women.        See Jewell Rpt. (Ex. 10) at 24.   Because the trials on which Dr. Jewell relies were
“not designed a priori to test the hypothesis that there is a valid statistical association between

Lipitor and newly diagnosed diabetes, … chance, bias, and confounding remain plausible

         33
           Beyond the inability of the NDA data to show causation, Plaintiffs’ experts’ analysis
of that data is fatally flawed. See § IV.A of Pfizer’s motion to exclude Dr. Abramson.



                                                  32
 2:14-mn-02502-RMG              Date Filed 07/24/15       Entry Number 972         Page 41 of 61




alternative explanations.”      Hennekens Rpt. (Ex. 14) at 6.          “[I]t is not good scientific

methodology to highlight certain elevated subgroups as significant findings without having

earlier enunciated a hypothesis to look for or explain particular patterns.” Newman, 218 F.

Supp. 2d at 779.      Yet that is what Dr. Jewell does with his post hoc analysis.    It is therefore

unreliable and inadmissible to establish causation.

C.     Dr. Jewell Cherry-Picks Data to Support His Litigation Opinion

       Not only did Dr. Jewell base his causation opinion on a single study, SPARCL, that was

not designed to test his hypothesis, he simply ignored the studies that did not support his

hypothesis – CARDS and ASCOT.           Proper methodology requires the assessment of the totality

of data to determine whether there are consistent, true associations reliably replicated in multiple

studies.   See RM (3d) at 604-05.      But Dr. Jewell based his initial opinion on a single study, a

method that Plaintiffs’ other experts reject as unscientific.   As Dr. Quon states, replication and

consistency are important “[b]ecause you want to make sure that something [did not] happen by

chance[,] that goes towards replicability” and “you want to make sure that ... the data is going the

same way, you know, and in multiple independent trials that were designed robustly.”           Quon

Tr. (Ex. 2) at 342:9-343:9.      Dr. Quon also agrees that, rarely, if ever, does a single study

conclusively demonstrate a cause-and-effect relationship.         Id. at 344:24-345:2.   Dr. Singh

likewise concedes that where, as with diabetes, there is a significant background rate of the

outcome in question, a single study does not conclusively demonstrate a cause-and-effect
relationship.     Singh Tr. (Ex. 3) at 353:5-12; accord Wei Rpt. (Ex. 36) at 12; Hennekens Rpt.

(Ex. 14) at 73.    Yet that is precisely what Dr. Jewell purports to do here.
       Dr. Jewell admits that he did not review the CARDS study, Jewell Tr. (Ex. 7) at 132:22-

133:3, which showed that Lipitor is effective in treating the vascular risk associated with
diabetes, providing the basis for Lipitor’s indication for primary prevention in persons with Type

2 diabetes.     Even more glaring is Dr. Jewell’s intentional decision “not to study the data in

ASCOT” – a large, multi-year Lipitor trial in which diabetes was studied as a pre-specified




                                                  33
 2:14-mn-02502-RMG            Date Filed 07/24/15        Entry Number 972          Page 42 of 61




tertiary endpoint, and which showed no statistically significant association between Lipitor and

diabetes.   Id. at 119:5-15; see also id. at 121:24-122:3; 124:17-24; 125:14-22.

       In other litigation, Dr. Jewell has criticized the methods he uses here, discounting other

analyses for purportedly “fail[ing] to do a comprehensive review of the literature.” Jewell

Foster Tr. (Ex. 37) at 337:17-341:24.     He criticized such analyses because they did not “have

many of the studies that [he] relied on” and, thus, were “not really satisfactory as a report on the

issue of [general causation]” and were “unacceptable … as a thorough investigation of the

issue.” Id. at 321:24-323:1, 331:25-332:22.      He said he could not participate in an approach

that “would take selectively saying, ‘Well, we can keep [one study] in, but we … can’t have

[another study].’” Id. at 316:19-317:5.     In contrast to his approach here, he said he “think[s]

it’s better to look at … the comprehensive review of the literature by a statistician if you are

going to write a statistical report.” Id. at 337:17-341:24; accord Sacks Reb. Rpt. (Ex. 38) at 14.

       Despite having given such strong sworn testimony elsewhere, Dr. Jewell uses a different

method here.    In trying to defend his glaring omission of ASCOT, he says “[y]ou do not need to

do a comprehensive review [of all relevant clinical trials] to answer the question that Lipitor

causes diabetes in SPARCL, which is my opinions in this case and in this report.” Jewell Tr.

(Ex. 7) at 103:13-24.   He also asserts that he did “not need to rely on other trials to necessarily

inform me of what a specific trial says about the causal effects of Lipitor.” Id. at 97:10-20.   In

sum, Dr. Jewell applies a double-standard, tailored to meet the demands of his assignment in a
given case.    As other courts have held in excluding expert testimony, such an omission “is

especially glaring against [his] own deposition testimony that … ‘[a]ll evidence should be taken
into account.’” In re Rezulin Prods. Liab. Litig., 309 F. Supp. 2d 531, 563 (S.D.N.Y. 2004).

Such “selectivity in defining the universe of relevant evidence thus violated his own standard of
proper methodology …, which suggests that he does not apply the same rigor in the courtroom

that he would apply to his [professional] endeavors.” Id.

       Courts have repeatedly rejected such “cherry-picking” of favorable data, which “does not

reflect scientific knowledge, is not derived by the scientific method, and is not ‘good science.’”



                                                34
 2:14-mn-02502-RMG              Date Filed 07/24/15       Entry Number 972         Page 43 of 61




In re Bextra & Celebrex Mktg. Sales Pracs. & Prods. Liab. Litig., 524 F. Supp. 2d 1166, 1176

(N.D. Cal. 2007).     As the Zoloft MDL court recently held in excluding the plaintiffs’ general

causation evidence in its entirety, an expert who “selectively discuss[es] studies most supportive

of her conclusions ... and fails to account adequately for contrary evidence” must be excluded,

for “this methodology is not reliable or scientifically sound.” Zoloft, 26 F. Supp. 3d at 460-61.

There, the court rejected the general causation expert’s testimony as unreliable where, like Dr.

Jewell here, her “conclusions are drawn from trends she observed in a self-selected subset of

supportive studies, not the totality of the epidemiological evidence.”    Id. at 461-62.    “[A]ny

theory that fails to explain information that otherwise would tend to cast doubt on that theory is

inherently suspect,” and courts have accordingly “excluded expert testimony ‘where the expert

selectively chose his support from the scientific landscape.’” In re Rezulin Prod. Liab. Litig.,

369 F. Supp. 2d 398, 425 & n.164 (S.D.N.Y. 2005) (citation omitted).

       “Coming to a firm conclusion first and then doing research to support it is the antithesis

of” a scientific method.   Claar v. Burlington N. R.R. Co., 29 F.3d 499, 502-03 (9th Cir. 1994).

It is an “internally inconsistent” methodology, Phillips v. Am. Honda Motor Co., 238 F. App’x

537, 541 (11th Cir. 2007), that is “contrived to reach a particular result.”    Rink v. Cheminova,

Inc., 400 F.3d 1286, 1293 n.7 (11th Cir. 2005).       Where an expert “cherry-picked the facts he

considered to render an expert opinion … such a selective use of facts fails to satisfy the

scientific method and Daubert.” Barber v. United Airlines, Inc., 17 F. App’x 433, 437 (7th Cir.
2001); see Fail-Safe, LLC v. A.O. Smith Corp., 744 F. Supp. 2d 870, 889 (E.D. Wis. 2010).

       Dr. Jewell’s methodology thus fails every one of the core Daubert guidelines.       Daubert,
509 U.S. at 593-94.     Rather than relying on a methodology that has been tested, he bases his

causation opinion with respect to diabetes on a single study, SPARCL.          Reliance on a single
study is subject to a high rate of error.   His analysis of SPARCL is unpublished and has not

been subject to peer review.      Nor is that approach generally accepted.       “A plaintiff must

present more than a single study showing correlation,” and Dr. Jewell’s attempt to stand on that

ground alone is inadmissible.    Huss, 571 F.3d at 459.   His opinion must be excluded.



                                                35
 2:14-mn-02502-RMG               Date Filed 07/24/15        Entry Number 972        Page 44 of 61




D.      Dr. Jewell Manipulates Study Data to Say What He Wants

        After Dr. Jewell was deposed over his failure to consider ASCOT, he tried to cure his

omission with a supplemental report addressing ASCOT.             Jewell Reb. Rpt. (Ex. 34) at 2-3.

This supplemental analysis created more problems for Dr. Jewell than it solved.

        ASCOT was designed to collect data on diabetes and to subject them to adjudication by a

blinded endpoints committee.        ASCOT did not find a statistically significant association with

diabetes.     Yet Dr. Jewell did not follow the report of the ASCOT study authors, but instead

conducted his own post hoc analysis of the unadjudicated data.        See id. at 9-18.   As Dr. Gale

admits, even if performed correctly, a post hoc analysis can only generate a hypothesis; it cannot

be reliably used to test a hypothesis.     Gale Tr. (Ex. 1) at 270:11-271:7; accord Wei Reb. Rpt.

(Ex. 39) at 1.     Dr. Jewell’s reanalysis was not even performed correctly.

        Among other flaws, Dr. Jewell’s reanalysis did not use the adjudicated data from the

ASCOT investigators, Jewell Tr. (Ex. 40) at 407:7-16, despite his admission that data reviewed

by the blinded endpoint committee is “certainly more reliable than unadjudicated endpoint data”

he used for his reanalysis.       Id. at 447:19-449:12.     Moreover, in his reanalysis, Dr. Jewell

reached “conclusions the authors of the study do not make.” McClain, 401 F.3d at 1248.            In

fact, he reaches precisely the opposite conclusions and, thus, “exceed[s] the limits of the

conservative scientific methodology.”       Id.   The ASCOT authors concluded that there was no

statistically significant association between Lipitor and diabetes, a pre-specified endpoint in the
analysis.34     Dr. Jewell disregarded the study design and its conclusion, finding a statistically

significant association between Lipitor and diabetes in ASCOT.         Jewell Reb. Rpt. (Ex. 34) at

18.   He has no scientifically valid reason for doing so.

        An expert cannot base a causation opinion on studies that do not reach that conclusion.

Joiner, 522 U.S. at 145-46.        “It is axiomatic that causation testimony is inadmissible if an

expert relies upon studies or publications, the authors of which were themselves unwilling to


        34
              Sever (2003) (Ex. 26) at 1153, Tbl. 3.



                                                   36
 2:14-mn-02502-RMG             Date Filed 07/24/15           Entry Number 972        Page 45 of 61




conclude that causation had been proven.” Huss, 571 F.3d at 459; Happel v. Wal-Mart Stores,

Inc., 602 F.3d 820, 826 (7th Cir. 2010); Doe v. Ortho-Clinical Diagnostics, Inc., 440 F. Supp. 2d

465, 472-74 (M.D.N.C. 2006).        “When an expert relies on the studies of others, he must not

exceed the limitations the authors themselves place on the study” and “must not draw

overreaching conclusions.” In re Accutane Prods. Liab. Litig., 511 F. Supp. 2d 1288, 1291

(M.D. Fla. 2007).     The law “warns against use of medical literature to draw conclusions not

drawn in the literature itself .... Reliance upon medical literature for conclusions not drawn

therein is not an accepted scientific methodology.” Rutigliano v. Valley Bus. Forms, 929 F.

Supp. 779, 785 (D.N.J. 1996), aff’d, 118 F.3d 1577 (3d Cir. 1997).          Dr. Jewell’s unpublished,

unreviewed reanalysis of ASCOT data to bolster his litigation opinion is unreliable and renders

his testimony inadmissible.

       In affirming the exclusion of expert testimony in Joiner, the Supreme Court held that a

“study did not support the experts’ conclusion” on causation where its authors were “unwilling to

say that [the] exposure had caused” the disease in the population.         522 U.S. at 145.   Similar

issues were also before the Supreme Court in Daubert, where the plaintiffs’ experts opined that a

drug caused birth defects based, in part, upon “the ‘reanalysis’ of previously published

epidemiological (human statistical) studies” – reanalyses that were “‘unpublished, not subject to

the normal peer review process and generated solely for use in litigation.’”      509 U.S. at 583-85.

On remand, the Ninth Circuit noted that “[o]ne very significant fact to be considered is whether
the experts … developed their opinions expressly for purposes of testifying.”             Daubert v.

Merrell Dow Pharms., Inc., 43 F.3d 1311, 1317 (9th Cir. 1995).            Yet the only “review” those
opinions received was in the courtroom.      Id. at 1318.      As the court aptly noted, “what’s going

on here is not science at all, but litigation.” Id.     So, too, here.
       In addition, Dr. Jewell used different methods for analyzing ASCOT.             For SPARCL,

IDEAL, and TNT, he initially performed analyses by gender, purporting to show that the risk of

diabetes is greater in women than in men, see Jewell Rpt. (Ex. 10) at 4, 18, 27, 30, 31, 58, 70, a

key allegation of Plaintiffs in this litigation.   Yet, at his first deposition, Dr. Jewell conceded



                                                   37
 2:14-mn-02502-RMG              Date Filed 07/24/15       Entry Number 972         Page 46 of 61




that the ASCOT data, with a hazard ratio of 1.01 in women, suggested a lower risk in women

than in men.    Jewell Tr. (Ex. 7) at 128:17-129:6.    Thus, using his approach in ASCOT would

show “there is no evidence of an increased risk with” women.          Wei Reb. Rpt. (Ex. 39) at 5.

Now claiming that “the difference between men and women” is “not central to” his “original

report” or to his “opinions,” Jewell Tr. (Ex. 40) at 491:17-492:4, Dr. Jewell abandoned his

gender analysis in ASCOT.       See Jewell Reb. Rpt. (Ex. 34).    That Dr. Jewell applies different

methods to different studies demonstrates that he tailors his approach to the situation presented

and underscores the unreliability of his post hoc reanalysis of the data.

       Dr. Jewell’s unpublished, non-peer-reviewed reanalysis is solely a litigation-driven, post

hoc analysis designed to manipulate the data in a manner that ostensibly supports his preordained

opinion.    See In re Denture Cream Prods. Liab. Litig., 2015 WL 392021, at *18 (S.D. Fla. Jan.

28, 2015).     Dr. Jewell’s reanalysis is “driven by h[is] desire to confirm h[is] a priori

hypothesis” that Lipitor causes diabetes.    See Zoloft, 26 F. Supp. 3d at 457 n.25.     This is not

science, but advocacy, and it has no place in the courtroom.

E.     Plaintiffs’ Causation Opinions Based on Other Evidence Are Unreliable
       Though Plaintiffs’ experts rely predominantly on the opinion of Dr. Jewell to support

general causation, they also proffer a meta-analysis from Dr. Singh that purports to show that

statins in general cause diabetes, Singh Rpt. (Ex. 6) at 7, 15-20, as well as their own causation

opinions.35    While Dr. Jewell’s analysis is based on Lipitor clinical trial data, Plaintiffs’ other

experts opine that Lipitor causes diabetes based on the interim PROVE-IT abstract comparing

Lipitor to pravastatin, the JUPITER trial comparing Crestor to placebo, and observational studies

of Lipitor and other statins.   Such studies cannot support causation here.

       Plaintiffs’ experts rely on an abstract reporting interim data from PROVE-IT, which

reported a statistically significant increase in HbA1c levels in the Lipitor group, but they ignore

the final published data for the study, which found no significant difference in the incidence of

       35
           See Abramson Rpt. (Ex. 41) at 186-223; Gale Rpt. (Ex. 11) at 14-16; Quon Rpt. (Ex.
42) at 13-20; Roberts Rpt. (Ex. 43) at 8-13.



                                                 38
 2:14-mn-02502-RMG             Date Filed 07/24/15        Entry Number 972          Page 47 of 61




diabetes.   Hennekens Rpt. (Ex. 14) at 72. Where an expert relies on unpublished findings and

ignores the final report of a study, it suggests that their “reliance on the unpublished … report

was not based on scientific method but on the expediencies of this particular litigation.”

Rezulin, 309 F. Supp. 2d at 562-63.       Plaintiffs’ experts likewise fail to note that PROVE-IT

reported no elevated risk for the 80 mg dose of Lipitor compared to pravastatin.       Based on data

from the WOSCOPS trial, pravastatin was reported to have a protective effect against diabetes,

see Singh Rpt. (Ex. 6) at 10, which raises serious questions about Plaintiffs’ experts’ hypotheses

that they fail to address.     And more fundamentally, PROVE-IT cannot establish general

causation because it did not compare Lipitor to placebo, but to another active medication.

Plaintiffs’ experts’ unscientific approach to this study is inadmissible.

       Plaintiffs’ experts attempt to establish general causation based on the JUPITER study of

Crestor (rosuvastatin), see, e.g., Singh Rpt. (Ex. 6) at 9-10, which was terminated after 1.9 years

when Crestor had conclusively shown a benefit.        Initially, Plaintiffs’ experts engage in cherry-

picking by relying on JUPITER, which reported a positive association with physician-reported

diabetes (RR=1.25, 95% CI 1.05-1.49),36 but ignoring statin studies with the opposite result –
specifically, analysis of the data from WOSCOPS (Ex. 44), which reported a protective effect

between pravastatin and diabetes.    Moreover, Plaintiffs’ experts ignore significant limitations of

the JUPITER study that cast doubt on its finding.           For instance, because JUPITER was

terminated after 1.9 years due to proof of benefit, it is incapable of showing causation of a

disease that takes a decade to develop, and “secondary endpoints [such as diabetes] are less

reliable than if the trial had continued to its scheduled duration.” Hennekens Rpt. (Ex. 14) at

40.   Further, JUPITER did not use solely objective criteria to define diabetes, but instead

included physician reports, which introduces a potential source of bias.     See Sacks Rpt. (Ex. 35)

at 49-50.   The potential of bias is evident in the fact that the average glucose levels were



       36
          Ridker et al., Cardiovascular benefits and diabetes risks of statin therapy in primary
prevention: an analysis from the JUPITER trial, 380 Lancet 565 (2012) (Ex. 45).



                                                 39
 2:14-mn-02502-RMG             Date Filed 07/24/15       Entry Number 972          Page 48 of 61




actually identical between the two groups during the study period.37     Any apparent showing that

more Crestor patients developed diabetes in the JUPITER trial than those on placebo thus would

have involved patients in whom the diabetes process had already begun.             And finally, the

reported association in JUPITER involved patients who already had risk factors for diabetes – as

Dr. Singh admitted, neither SPARCL, nor JUPITER, nor any other statin clinical trial has

reported a statistically significant increased risk of diabetes in patients without pre-existing risk

factors for diabetes.   Singh Tr. (Ex. 3) at 129:10-16; accord Hennekens Rpt. (Ex. 14) at 40.

       Nor can Plaintiffs’ experts rely on observational studies since, as many of them admit,

such studies have substantial limitations and cannot show causation.         As Dr. Quon admits,

“observational studies are among the weakest type of evidence” and, rather than proving

causation, they “form[] the basis for developing a hypothesis.” Quon Tr. (Ex. 2) at 296:16-

297:2; accord Sacks Rpt. (Ex. 35) at 57; Miller Rpt. (Ex. 19) at 10; Waikar Rpt. (Ex. 47) at 11-

12.   Dr. Gale agrees that “[i]n terms of establishing a causal relationship … [y]ou rely on your

randomized controlled trials” because observational studies are hypothesis generating and “don’t

address the question of causation.” Gale Tr. (Ex. 1) at 219:4-221:1.         This is because in an

observational study there can be more than 10 or 15 different potential confounders that would

need to be adjusted for when assessing whether statins increase the risk of newly diagnosed

diabetes, “which is why [Dr. Gale] ha[s]n’t placed reliance on them for that.” Id. at 222:7-15.38
Many different confounders need to be accounted for when comparing a population of people

taking statins to a population of people not taking statins, id. at 221:24-222:5, making

“observational studies … notoriously easy to criticize.” Id. at 223:5-16.




       37
           Ridker et al., Rosuvastatin to prevent vascular events in men and women with elevated
C-reactive protein, 359 NEJM 2195 (2008) (Ex. 46).
        38
           Of Plaintiffs’ experts, only Dr. Roberts opines that observational studies present better
data on diabetes than the randomized placebo controlled trials. Roberts Tr. (Ex. 9) at 110:17-
111:2, 176:11-18. This notion is contrary to the widely accepted view that clinical trials are the
“gold standard” of epidemiological evidence. See RM (3d) at 658.



                                                 40
 2:14-mn-02502-RMG              Date Filed 07/24/15         Entry Number 972          Page 49 of 61




        These problems of confounding are multiplied when combined together as they are in Dr.

Singh’s meta-analysis of multiple sources of data, including observational studies, Lipitor

clinical trials, and clinical trials for other statins.   Dr. Singh agrees that when evaluating the

relationship between statins and diabetes, a number of different confounders need to be taken

into account, including age, obesity, high blood glucose, smoking, family history, hypertension,

and lifestyle.    Singh Tr. (Ex. 3) at 215:9-217:21.            Yet Dr. Singh failed to adjust for

confounding in comparing disparate data from multiple different studies and did not conduct any

type of analysis to determine the degree to which his meta-analysis results were confounded by

the failure to adjust for potential confounders.        Id. at 289:24-290:14.   Thus, Plaintiffs’ other

experts opinions on general causation must be excluded.

III.    PLAINTIFFS LACK RELIABLE EVIDENCE FOR DOSES UNDER 80 MG
        In addition to the methodological problems outlined above, Plaintiffs’ expert opinion on

general causation fails to provide any information on the critical issue of dose.     Under Daubert,

it is not enough to claim that a substance is capable of causing injury at some unknown dose.

“[A]ll chemical agents are intrinsically hazardous – whether they cause harm is only a question

of dose.   Even water, if consumed in large quantities, can be toxic.” RM (3d) at 636; see also

In re W.R. Grace & Co., 355 B.R. 462, 486 n.99 (Bankr. D. Del. 2006).               Dose is critical to

proving general causation.     “[T]o carry the burden of proving a plaintiff’s injury was caused by

exposure to a specified substance, the plaintiff must demonstrate the levels of exposure that are

hazardous to human beings generally.”           Zellers, 533 F. App’x at 196 (emphasis added,

quotation omitted); accord Allen, 102 F.3d at 199; Abuan v. Gen. Elec. Co., 3 F.3d 329, 333 (9th

Cir. 1993); Mitchell v. Gencorp, Inc., 165 F.3d 778, 781 (10th Cir. 1999).          Simply put, “dose

matters,” and the Court should “analyze plaintiffs’ experts’ opinions as to causation” on each

specific dose as to which they allege harm.      Bextra & Celebrex, 524 F. Supp. 2d at 1174-75.

        For example, in McClain, the plaintiffs claimed that an appetite suppressant caused heart

attacks and strokes.     The district court denied the defendant’s Daubert motion on general

causation, but the Eleventh Circuit reversed, excluding the plaintiffs’ experts because they could



                                                   41
 2:14-mn-02502-RMG             Date Filed 07/24/15        Entry Number 972          Page 50 of 61




offer no reliable testimony on what dose was necessary to cause injury.          In other words, the

experts “could not say how much is too much.” 401 F.3d at 1241.           “To carry the burden in a

toxic tort case, ‘a plaintiff must demonstrate the levels of exposure that are hazardous to human

beings generally as well as the plaintiff’s actual level of exposure to the defendant’s toxic

substance before he or she may recover.’” Id. (quoting Mitchell, 165 F.3d at 781).           Because

the plaintiffs failed to satisfy this requirement, the district court erred in admitting into evidence

the experts’ opinions that “use of [the product] actually causes strokes or heart attacks, either

generally or in these Plaintiffs.” Id. at 1255.

       Several of Plaintiffs’ experts assert that the risk of diabetes from Lipitor appears to be

dose-dependent.     Gale Tr. (Ex. 1) at 52:19-53:6; Quon Tr. (Ex. 2) at 48:19-49:13; Singh Rpt.

(Ex. 6) at 36-37.   Dr. Singh opines that “Lipitor causes diabetes” at all doses and “you cannot

disaggregate the risk” by dose.    Singh Tr. (Ex. 3) at 70:4-23.     Yet Dr. Singh testified that, if

asked to evaluate the effects of Lipitor at a given dose, it would be reasonable and appropriate to

focus on the available data at a given dose, id. at 162:12-18, but nonetheless asserted that he had

“to ascribe the risk to all doses” in his analysis.    Id. at 268:9-23.   In the end, none of these

three experts, including Dr. Singh, attempted to analyze the effect of Lipitor by dose.     Singh Tr.

(Ex. 3) at 70:24-71:7; Gale Tr. (Ex. 1) at 54:7-55:3; Quon Tr. (Ex. 2) at 318:22-319:10.

       Plaintiffs proffer no dose-specific evidence of an association with new diabetes diagnosis

for any dose except 80 mg.     In fact, no clinical trial reports any such association at a dose less
than 80 mg.    Gale Tr. (Ex. 1) at 252:19-253:1; Fonseca Rpt. (Ex. 18) at 19.        Under the case

law, the evidence, and their own admissions, Plaintiffs’ general causation opinion on diabetes
hangs on a post hoc analysis of SPARCL involving an 80 mg dose, in patients with preexisting

risk factors for diabetes, such as elevated baseline glucose and high BMI.
       Not only is there an absence of affirmative evidence of an association at any dose less

than 80 mg, there is evidence to the contrary.     ASCOT studied the 10 mg dose of Lipitor but

found no statistically significant association with diabetes.    Gale Tr. (Ex. 1) at 248:17-249:2.

Plaintiffs cannot use Dr. Jewell’s tortured post hoc reanalysis of ASCOT to turn its published



                                                  42
 2:14-mn-02502-RMG             Date Filed 07/24/15       Entry Number 972          Page 51 of 61




peer-reviewed results on their head.      See id. at 270:11-271:7; Happel, 602 F.3d at 826; Huss,

571 F.3d at 459.

        The ASCOT finding of no significant increased risk of newly diagnosed diabetes at 10

mg of Lipitor is also supported by a 2013 comprehensive network meta-analysis of randomized

controlled trials by Navarese. 39       This network meta-analysis includes data from ASCOT,

SPARCL, TNT, and IDEAL, and is the only published, peer-reviewed meta-analysis that

provides risk estimates for specific doses of the major statins on the market.   For Lipitor 10 mg,

the risk of newly diagnosed diabetes was virtually identical to placebo, a finding consistent with

no association.     Drs. Gale and Singh admit that this meta-analysis did not find a significant

increased risk of diabetes compared to placebo for the 10 mg dose – or the 80 mg dose – of

Lipitor.     Gale Tr. (Ex. 1) at 256:4-25; Singh Tr. (Ex. 3) at 191:25-192:19, 200:22-201:8.      Dr.

Singh admits that the Navarese meta-analysis was “quite reasonably well conducted,” Singh Tr.

(Ex. 3) at 191:20-24, and that he was aware of those data when he wrote his report, id. at 201:3-

5, but did not address them.    Id. at 200:8-15.

        For the reasons outlined above, none of the other proffered clinical trials offers reliable

evidence of causation at a lower dose.      Dr. Jewell recognizes the limitations of the NDA data

due to their short duration and does not contend that such data show causation.    Jewell Rpt. (Ex.

10) at 3, 13.    Dr. Singh claims that the NDA data established an increased risk of diabetes at 10

mg, but could not identify any of the NDA studies that allegedly show such a risk, and admits
that he did not analyze the NDA data.        Singh Tr. (Ex. 3) at 201:9-202:18, 313:18-316:5. Dr.

Singh agrees that different doses of statins appear to have different diabetes risks.    Id. at 268:9-
23.   He further agrees that it is reasonable and appropriate to focus on the data available at a

given dose.     Id. at 161:11-162:18.   Yet neither he nor Dr. Quon made any effort to examine the
data to determine what, if any, increased risk for diabetes diagnosis exists at 10 mg.    Id. at 71:8-



        39
        Navarese et al., Meta-Analysis of Impact of Different Types and Doses of Statins on
New-Onset Diabetes Mellitus, 111 Am. J. of Cardiol. 1123, 1126-27, Fig. 3 (2013) (Ex. 48).



                                                   43
 2:14-mn-02502-RMG            Date Filed 07/24/15         Entry Number 972         Page 52 of 61




13; Quon Tr. (Ex 2) at 318:22-319:10.        Nor do the active comparator trials such as TNT,

IDEAL, and PROVE-IT establish an association at a lower dose.            In addition to comparing

Lipitor to placebo, the studied dose of Lipitor in each of these trials was 80 mg.    While certain

observational studies may report an association at 10 mg, Plaintiffs cannot rely on such

“notoriously easy to criticize” studies, Gale Tr. (Ex. 1) at 223:5-16, which “don’t address the

question of causation.”   Id. at 219:4-220:14.     Finally, JUPITER cannot answer questions on

the dose of Lipitor because it involves a different medication.

       Thus, even if Plaintiffs could proffer an admissible general causation opinion based on

the data from SPARCL participants on the 80 mg dose of Lipitor (which they cannot), it would

not provide evidence of general causation for any of the lower doses:       40 mg, 20 mg, or 10 mg.

As Dr. Gale admits, SPARCL “by definition” does not provide any information about the effects

of Lipitor on diabetes incidence at doses below 80 mg.       Gale Tr. (Ex. 1) at 272:11-15.   Other

MDL courts have held in similar situations that a lack of such evidence warrants preclusion of

general causation testimony at applicable doses.      For instance, in the Bextra & Celebrex MDL,

the court dismissed the plaintiffs’ attempt to establish general causation for Celebrex at the 200

mg dose because, as here, their experts “rel[ied] on the handful [of studies] that appear to support

their litigation-created opinion” and ignored the rest.      524 F. Supp. 2d at 1181.    The court

explained that, “[i]n the words of the Supreme Court, the ‘analytical gap’ between the data and

these experts’ conclusion is simply too great to make the opinion admissible,” and therefore
precluded all evidence of general causation at the 200 mg dose.       Id.    Likewise, the Prempro

MDL rejected efforts to rely “on a study of a high dose to determine adverse effects of a lower
dose, without supplying a method to substantiate this inference,” which Plaintiffs’ experts do not

offer here.   In re Prempro Prods. Liab. Litig., 738 F. Supp. 2d 887, 895 (E.D. Ark. 2010)
(citing Bextra & Celebrex, 524 F. Supp. 2d at 1180; Soldo, 244 F. Supp. 2d at 546-47).          The

same result is warranted here, and this Court should thus, at minimum, exclude Plaintiffs’

general causation testimony for all doses less than 80 mg.




                                                 44
 2:14-mn-02502-RMG              Date Filed 07/24/15       Entry Number 972          Page 53 of 61




IV.    NO RELIABLE EVIDENCE FOR LESS THAN THREE RISK FACTORS

       Even if one were to credit Dr. Jewell’s analysis of an association with diabetes in

SPARCL, it cannot support Plaintiffs’ broad claim of causation in all patients at all doses for all

durations.     Dr. Jewell claimed to have framed his “analysis of the question of Lipitor in diabetes

as outlined in the Waters report” and, thus, the “main protocol for doing [his analysis] was the

Waters paper of trying to follow the studies they used and the methods they used.” Jewell Tr.

(Ex. 7) at 134:5-15, 370:21-371:5.     Yet the increased risk of new diabetes diagnoses as assessed

in Waters (2011) for SPARCL, TNT, and IDEAL was found only in patients (at the 80 mg dose)

with three or four of the following risk factors for diabetes:       baseline fasting blood glucose

above 100 mg/dl, fasting triglycerides above 150 mg/dl, BMI above 30, or a history of

hypertension.40     In contrast, that analysis found no significant association for patients with zero

to two risk factors.    Despite Dr. Jewell’s claim of having used the analysis and methods that

Waters (2011) used, he freely admits that he did not assess the data by number of major risk

factor for diabetes, including prediabetes, triglycerides, obesity, or hypertension.    Id. at 257:11-

259:17.      Indeed, Plaintiffs’ experts have not attempted to address this aspect of the Waters

study in formulating their opinions.      Thus, they lack reliable evidence of an association – let

alone causation – in individuals with less than three of the foregoing risk factors.

                                           CONCLUSION

       For the foregoing reasons, the Court should preclude Plaintiffs’ experts, including Drs.

Abramson, Gale, Jewell, Quon, Roberts, and Singh, from testifying that Lipitor causes diabetes.

At minimum, the Court should preclude Plaintiffs’ experts from testifying that Lipitor causes

diabetes (a) at doses less than 80 mg or (b) in those with less than three of the following risk

factors for diabetes:       (i) baseline fasting blood glucose above 100 mg/dl, (ii) fasting

triglycerides above 150 mg/dl, (iii) BMI above 30, or (iv) a history of hypertension.




       40
             Waters (2011) (Ex. 29) at 1540-42.



                                                  45
 2:14-mn-02502-RMG     Date Filed 07/24/15     Entry Number 972          Page 54 of 61




Dated: July 24, 2015                 Respectfully submitted,
                               By:   /s/ Mark S. Cheffo
                                     Mark S. Cheffo
                                     Sheila L. Birnbaum
                                     Bert L. Wolff
                                     Lincoln Davis Wilson
                                     Quinn Emanuel Urquhart & Sullivan, LLP
                                     51 Madison Avenue
                                     New York, NY 10010
                                     Telephone: (212) 849-7000
                                     Facsimile: (212) 849-7100
                                     MarkCheffo@quinnemanuel.com
                                     SheilaBirnbaum@quinnemanuel.com
                                     BertWolff@quinnemanuel.com
                                     LincolnWilson@quinnemanuel.com

                                     Michael T. Cole
                                     Nelson Mullins Riley & Scarborough LLP
                                     151 Meeting Street/Sixth Floor
                                     Post Office Box 1806 (29402-1806)
                                     Charleston, South Carolina 29401
                                     Telephone: (843) 853-5200
                                     Facsimile: (843) 722-8700
                                     mike.cole@nelsonmullins.com

                                     David E. Dukes
                                     Amanda S. Kitts
                                     Nelson Mullins Riley & Scarborough LLP
                                     1320 Main Street / 17th Floor
                                     Post Office Box 11070 (29211-1070)
                                     Columbia, SC 29201
                                     Telephone: (803) 799-2000
                                     Facsimile: (803) 256-7500
                                     david.dukes@nelsonmullins.com
                                     amanda.kitts@nelsonmullins.com

                                     Counsel for Defendant Pfizer Inc.




                                       46
 2:14-mn-02502-RMG            Date Filed 07/24/15        Entry Number 972           Page 55 of 61




                                    CERTIFICATE OF SERVICE

       I hereby certify that, this 24th day of July, 2015, I have electronically filed a copy of the

above and foregoing with Clerk of the Court using the ECF system, which sent notification of

such filing to counsel of record.



                                                      /s/ Mark S. Cheffo
                                                      Mark S. Cheffo
                                                      Quinn Emanuel Urquhart & Sullivan, LLP
                                                      51 Madison Avenue
                                                      22nd Floor
                                                      New York, NY 10010
                                                      Telephone: (212) 849-7000
                                                      Facsimile: (212) 849-7100
                                                      MarkCheffo@quinnemanuel.com




                                                 47
 2:14-mn-02502-RMG          Date Filed 07/24/15       Entry Number 972         Page 56 of 61




               APPENDIX – General Causation Experts and Clinical Trials

Plaintiff Experts:

Name:                John Abramson
Employment:          Primarily self-employed; Lecturer, Department of Health Care Policy,
                     Harvard Medical School
Certifications:      Family Medicine
Clinical Practice:   Inactive since 2002
Education:           M.D. (Brown University 1976); M.S. Family Medicine (Case Western
                     Reserve University 1982)
Reports:             Opening Report (Ex. 41), Errata (Ex. 33), Rebuttal Report (Ex. 49)


Name:                Edwin Gale
Employment:          Emeritus Professor of Diabetic Medicine, University of Bristol
Certifications:      Diabetes (UK); General Medicine (UK)
Clinical Practice:   Inactive since 2011
Education:           M.B. (University College Hospital, London, 1972); F.R.C.P. (UK 1982)
Reports:             Opening Report (Ex. 11)


Name:                Nicholas Jewell
Employment:          Professor of Biostatistics & Statistics, School of Public Health &
                     Department of Statistics, University of California, Berkeley
Certifications:      N/A
Clinical Practice:   N/A
Education:           Ph.D. Mathematics (University of Edinburgh 1976)
Reports:             Opening Report (Ex. 9), Rebuttal Report (Ex. 34)


Name:                Michael Quon
Employment:          Professor, Department of Endocrinology, Diabetes, and Nutrition &
                     Department of Physiology, University of Maryland School of Medicine
Certifications:      Internal Medicine
Clinical Practice:   Currently engages in treatment via clinical research; inactive in primary
                     care since 1995
Education:           Ph.D. Biomedical Engineering (Northwestern University 1987); M.D.
                     (Northwestern University 1988)
Reports:             Opening Report (Ex. 42)




                                             A-1
 2:14-mn-02502-RMG         Date Filed 07/24/15       Entry Number 972         Page 57 of 61




Name:                Barbara Roberts
Employment:          Associate Clinical Professor of Medicine, the Warren Alpert Medical
                     School of Brown University; Director of the Women’s Cardiac Center,
                     Miriam Hospital
Certifications:      Internal Medicine; Cardiology
Clinical Practice:   Currently treats cardiology patients
Education:           M.D. (Case Western Reserve School of Medicine 1968)
Reports:             Opening Report (Ex. 43)


Name:                Sonal Singh
Employment:          Assistant Professor of Medicine, Division of General Internal Medicine,
                     Department of Medicine & Department of Health, Policy and
                     Management and International Health, Johns Hopkins University
Certifications:      Internal Medicine
Clinical Practice:   Currently treats primary care patients
Education:           M.B.B.S. (Patna Medical College, India 1998); M.P.H. (Bloomberg
                     School of Public Health 2008)
Reports:             Opening Report (Ex. 6)




                                            A-2
 2:14-mn-02502-RMG         Date Filed 07/24/15       Entry Number 972        Page 58 of 61




Pfizer Experts:

Name:                Tom Elasy
Employment:          Chair of Clinical Research in the Diabetes Center & Associate Professor
                     of Medicine, Vanderbilt University School of Medicine
Certifications:      Internal Medicine
Clinical Practice:   Currently treats and oversees treatment of patients with diabetes and
                     prediabetes
Education:           M.D. (University of Maryland 1991); M.P.H. Epidemiology (University
                     of North Carolina at Chapel Hill, School of Medicine 1998)
Reports:             Opening Report (Ex. 17), Rebuttal Report (Ex. 20)


Name:                Vivian Fonseca
Employment:          Professor of Medicine & Chief of the Section of Endocrinology, Tulane
                     University Health Sciences Center
Certifications:      Internal Medicine, Diabetes, and Endocrinology (UK); Internal Medicine;
                     Endocrinology, Metabolism, and Diabetes
Clinical Practice:   Currently treats patients with endocrine disorders, diabetes, and
                     prediabetes
Education:           M.B.B.S. (Armed Forces Medical College, Poona, India 1947); M.D.
                     (Bombay University 1978); F.R.C.P. (UK 2004)
Reports:             Opening Report (Ex. 18)


Name:                Charles Hennekens
Employment:          Professor & Senior Academic Advisor to the Dean & Research Professor,
                     Charles E. Schmidt College of Medicine, Florida Atlantic University;
                     Adjunct Professor of Family and Community Medicine, Meharry Medical
                     College; Voluntary Professor, Department of Family Medicine and
                     Community Health, University of Miami Miller School of Medicine
Certifications:      Preventive Medicine
Clinical Practice:   Inactive since 2000
Education:           M.D. (Cornell University Medical College 1967); M.P.H. (Harvard
                     School of Public Health 1973); M.S. Epidemiology (Harvard School of
                     Public Health 1973); Dr.PH Epidemiology (Harvard School of Public
                     Health 1975); honorary D.Sc. (University of Medicine and Dentistry of
                     New Jersey 1996); honorary D.Sc. (Queens College, The City University
                     of New York 1997)
Reports:             Opening Report (Ex. 23)




                                            A-3
 2:14-mn-02502-RMG         Date Filed 07/24/15       Entry Number 972        Page 59 of 61




Name:                Michael Miller
Employment:          Professor of Cardiovascular Medicine, Epidemiology and Public Health,
                     University of Maryland School of Medicine
Certifications:      Internal Medicine; Clinical Lipidology; Cardiovascular Disease
Clinical Practice:   Currently treats cardiology patients
Education:           M.D. (University of Medicine & Dentistry of New Jersey 1983)
Reports:             Opening Report (Ex. 19)


Name:                Frank Sacks
Employment:          Professor of Cardiovascular Disease Prevention, Department of Nutrition,
                     Harvard School of Public Health; Professor of Medicine, Harvard Medical
                     School; Senior Physician, Channing Division of Network Medicine,
                     Department of Medicine, Brigham & Women’s Hospital
Certifications:      N/A
Clinical Practice:   Inactive since 2010
Education:           M.D. (Columbia University, College of Physicians and Surgeons 1977)
Reports:             Opening Report (Ex. 35), Rebuttal Report (Ex. 38)


Name:                Sushrut Waikar
Employment:          Associate Professor of Medicine, Harvard Medical School; Director of
                     Ambulatory Services, Renal Division, Brigham and Women’s Hospital
Certifications:      Internal Medicine; Nephrology
Clinical Practice:   Currently treats patients with diabetic kidney disease and other
                     forms of acute and chronic kidney disease
Education:           M.D. (Yale University School of Medicine 1998); M.P.H. Clinical
                     Effectiveness (Harvard School of Public Health, 2006)
Reports:             Opening Report (Ex. 47)


Name:                Lee-Jen Wei
Employment:          Professor of Biostatistics, Harvard University
Certifications:      N/A
Clinical Practice:   N/A
Education:           Ph.D. Statistics (University of Wisconsin, Madison)
Reports:             Opening Report (Ex. 36), Rebuttal Report (Ex. 39)




                                            A-4
 2:14-mn-02502-RMG          Date Filed 07/24/15      Entry Number 972         Page 60 of 61




Chronological Listing of Relevant Clinical Trials

Short Name & Date:     WOSCOPS (1995)
Full Name:             West of Scotland Coronary Prevention Study
Publication:           Shepherd et al., Prevention of Coronary Heart Disease with Pravastatin
                       in Men with Hypercholesterolemia, 333 NEJM 1301 (1995) (Ex. 44)
Study Drugs:           Pravachol 40 mg vs. placebo


Short Name & Date:     ASCOT-LLA (2003)
Full Name:             Anglo-Scandinavian Cardiac Outcomes Trial-Lipid Lowering Arm
Publication:           Sever et al., Prevention of Coronary and Stroke Events with Atorvastatin
                       in Hypertensive Patients who Have Average or Lower-than-Average
                       Cholesterol Concentrations, in the Anglo-Scandinavian Cardiac
                       Outcomes Trial – Lipid Lowering Arm (ASCOT-LLA): A Multicentre
                       Randomised Controlled Trial, 361 Lancet 1149 (2003) (Ex. 26)
Study Drugs:           Lipitor 10 mg vs. placebo


Short Name & Date:     CARDS (2004)
Full Name:             Collaborative Atorvastatin Diabetes Study
Publication:           Colhoun et al., Primary Prevention of Cardiovascular Disease with
                       Atorvastatin in Type 2 Diabetes in the Collaborative Atorvastatin
                       Diabetes Study (CARDS): Multicentre Randomised Placebo-Controlled
                       Trial, 364 Lancet 685 (2004) (Ex. 25)
Study Drugs:           Lipitor 10 mg vs. placebo


Short Name & Date:     PROVE–IT (2004)
Full Name:             Pravastatin or Atorvastatin Evaluation and Infection Therapy
Publication:           Cannon et al., Intensive versus Moderate Lipid Lowering with Statins
                       after Acute Coronary Syndromes, 350 NEJM 1495 (2004) (Ex. 50)
Study Drugs:           Lipitor 80 mg vs. Pravachol 40 mg


Short Name & Date:     IDEAL (2005)
Full Name:             Incremental Decrease in End Points Through Aggressive Lipid
                       Lowering
Publication:           Pedersen et al., High-dose Atorvastatin vs Usual-Dose Simvastatin for
                       Secondary Prevention After Myocardial Infarction: The IDEAL Study: a
                       Randomized Controlled Trial, 294 JAMA 2437 (2005) (Ex. 27)
Study Drugs:           Lipitor 80 mg vs. Zocor 20 mg




                                            A-5
 2:14-mn-02502-RMG        Date Filed 07/24/15       Entry Number 972          Page 61 of 61




Short Name & Date:   TNT (2005)
Full Name:           Treating to New Targets
Publication:         LaRosa et al., Intensive Lipid Lowering with Atorvastatin in Patients
                     with Stable Coronary Disease, 352 NEJM 1425 (2005) (Ex. 51)
Study Drugs:         Lipitor 80 mg vs. Lipitor 10 mg


Short Name & Date:   SPARCL (2006)
Full Name:           Stroke Prevention through Aggressive Cholesterol Lowering
Publication:         Amarenco et al., High-Dose Atorvastatin after Stroke or Transient
                     Ischemic Attack, 355 NEJM 549 (2006) (Ex. 28)
Study Drugs:         Lipitor 80 mg vs. placebo


Short Name & Date:   JUPITER (2008)
Full Name:           Justification for the Use of Statins in Prevention: an Intervention Trial
                     Evaluating Rosuvastatin
Publication:         Ridker et al., Rosuvastatin to Prevent Vascular Events in Men and
                     Women with Elevated C-Reactive Protein, 359 NEJM 2195 (2008) (Ex.
                     46)
Study Drugs:         Crestor 20 mg vs. placebo




                                           A-6
